B1 (Official Form 1) (4/10)
                                            UNITED STATES BANKRUPTCY COURT
                                               WESTERN DISTRICT OF TEXAS                                                                                         Voluntary Petition
                                                  SAN ANTONIO DIVISION
Name of Debtor (if individual, enter Last, First, Middle):                                           Name of Joint Debtor (Spouse) (Last, First, Middle):
Alexander, Savannah

All Other Names used by the Debtor in the last 8 years                                               All Other Names used by the Joint Debtor in the last 8 years
(include married, maiden, and trade names):                                                          (include married, maiden, and trade names):




Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN)/Complete EIN (if more               Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN)/Complete EIN (if more
than one, state all):     xxx-xx-3451                                                                than one, state all):
Street Address of Debtor (No. and Street, City, and State):                                          Street Address of Joint Debtor (No. and Street, City, and State):
5707 TPC Parkway, Apt 1837
San Antonio, TX
                                                                          ZIP CODE                                                                                            ZIP CODE
                                                                            78261
County of Residence or of the Principal Place of Business:                                           County of Residence or of the Principal Place of Business:
Bexar
Mailing Address of Debtor (if different from street address):                                        Mailing Address of Joint Debtor (if different from street address):
5707 TPC Parkway, Apt 1837
San Antonio, TX
                                                                          ZIP CODE                                                                                            ZIP CODE
                                                                            78261
Location of Principal Assets of Business Debtor (if different from street address above):
                                                                                                                                                                              ZIP CODE


                Type of Debtor                                 Nature of Business                                   Chapter of Bankruptcy Code Under Which
              (Form of Organization)                              (Check one box.)                                     the Petition is Filed (Check one box.)
                 (Check one box.)
                                                     ¨    Health Care Business
                                                                                                     þ       Chapter 7
 þ      Individual (includes Joint Debtors)          ¨    Single Asset Real Estate as defined
                                                          in 11 U.S.C. § 101(51B)
                                                                                                     ¨       Chapter 9                                   ¨ Chapter  15 Petition for Recognition
                                                                                                                                                           of a Foreign Main Proceeding
        See Exhibit D on page 2 of this form.
                                                     ¨    Railroad                                   ¨       Chapter 11
 ¨      Corporation (includes LLC and LLP)                                                           ¨       Chapter 12                                  ¨ Chapter 15 Petition for Recognition
                                                     ¨    Stockbroker                                                                                          of a Foreign Nonmain Proceeding
 ¨      Partnership
                                                     ¨    Commodity Broker                           ¨       Chapter 13

 ¨      Other (If debtor is not one of the above
        entities, check this box and state type
                                                     ¨    Clearing Bank                                                                     Nature of Debts
                                                                                                                                            (Check one box.)
        of entity below.)                            ¨    Other
                                                                 Tax-Exempt Entity                   þ       Debts are primarily consumer
                                                                                                             debts, defined in 11 U.S.C.
                                                                                                                                                         ¨     Debts are primarily
                                                                                                                                                               business debts.
                                                             (Check box, if applicable.)                     § 101(8) as "incurred by an
                                                          Debtor is a tax-exempt organization                individual primarily for a
                                                     ¨    under Title 26 of the United States                personal, family, or house-
                                                          Code (the Internal Revenue Code).                  hold purpose."
                              Filing Fee (Check one box.)                                            Check one box:                       Chapter 11 Debtors
 þ      Full Filing Fee attached.                                                                    ¨ Debtor is a small business debtor as defined by 11 U.S.C. § 101(51D).
                                                                                                     ¨ Debtor is not a small business debtor as defined in 11 U.S.C. § 101(51D).
 ¨      Filing Fee to be paid in installments (applicable to individuals only). Must attach
        signed application for the court's consideration certifying that the debtor is
                                                                                                     Check if:
        unable to pay fee except in installments. Rule 1006(b). See Official Form 3A.                ¨ Debtor's   aggregate noncontigent liquidated debts (excluding debts owed to
                                                                                                        insiders or affiliates) are less than $2,343,300 (amount subject to adjustment
                                                                                                             on 4/01/13 and every three years thereafter).
        Filing Fee waiver requested (applicable to chapter 7 individuals only). Must
 ¨      attach signed application for the court's consideration. See Official Form 3B.               Check all applicable boxes:
                                                                                                             A plan is being filed with this petition.
                                                                                                     ¨       Acceptances of the plan were solicited prepetition from one or more classes
                                                                                                     ¨       of creditors, in accordance with 11 U.S.C. § 1126(b).
 Statistical/Administrative Information                                                                                                                                THIS SPACE IS FOR
                                                                                                                                                                       COURT USE ONLY
 ¨    Debtor estimates that funds will be available for distribution to unsecured creditors.
 þ    Debtor estimates that, after any exempt property is excluded and administrative expenses paid,
      there will be no funds available for distribution to unsecured creditors.
 Estimated Number of Creditors
 ¨
 1-49
             þ
             50-99
                          ¨
                          100-199
                                         ¨
                                         200-999
                                                         ¨
                                                         1,000-
                                                                          ¨
                                                                          5,001-
                                                                                           ¨
                                                                                           10,001-
                                                                                                                ¨
                                                                                                                25,001-
                                                                                                                                    ¨
                                                                                                                                    50,001-
                                                                                                                                                     ¨
                                                                                                                                                     Over
                                                         5,000            10,000           25,000               50,000              100,000          100,000
 Estimated Assets
 þ           ¨            ¨              ¨               ¨                ¨                ¨                    ¨                   ¨                ¨
 $0 to    $50,001 to $100,001 to $500,001                $1,000,001       $10,000,001      $50,000,001          $100,000,001        $500,000,001 More than
 $50,000 $100,000 $500,000       to $1 million           to $10 million   to $50 million   to $100 million      to $500 million     to $1 billion $1 billion
 Estimated Liabilities
 ¨           þ            ¨              ¨               ¨                ¨                ¨                    ¨                   ¨                ¨
 $0 to   $50,001 to $100,001 to $500,001                 $1,000,001       $10,000,001      $50,000,001          $100,000,001        $500,000,001 More than
 $50,000 $100,000 $500,000      to $1 million            to $10 million   to $50 million   to $100 million      to $500 million     to $1 billion $1 billion
Computer software provided by LegalPRO Systems, Inc., San Antonio, Texas (210) 561-5300, Copyright 1996-2010 (Build 9.0.76.6, ID 1461244092)
B1 (Official Form 1) (4/10)                                                                                                                                                      Page 2
 Voluntary Petition                                                                         Name of Debtor(s):    Savannah Alexander
 (This page must be completed and filed in every case.)
                           All Prior Bankruptcy Cases Filed Within Last 8 Years (If more than two, attach additional sheet.)
Location Where Filed:                                                                      Case Number:                                   Date Filed:
 None
Location Where Filed:                                                                      Case Number:                                   Date Filed:


        Pending Bankruptcy Case Filed by any Spouse, Partner or Affiliate of this Debtor                                     (If more than one, attach additional sheet.)
Name of Debtor:                                                                            Case Number:                                   Date Filed:
 None
District:                                                                                  Relationship:                                  Judge:


                                         Exhibit A                                                                                 Exhibit B
 (To be completed if debtor is required to file periodic reports (e.g., forms 10K and                              (To be completed if debtor is an individual
 10Q) with the Securities and Exchange Commission pursuant to Section 13 or 15(d)                                  whose debts are primarily consumer debts.)
 of the Securities Exchange Act of 1934 and is requesting relief under chapter 11.)         I, the attorney for the petitioner named in the foregoing petition, declare that I have
                                                                                            informed the petitioner that [he or she] may proceed under chapter 7, 11, 12, or 13
                                                                                            of title 11, United States Code, and have explained the relief available under each
                                                                                            such chapter. I further certify that I have delivered to the debtor the notice
 ¨      Exhibit A is attached and made a part of this petition.
                                                                                            required by 11 U.S.C. § 342(b).



                                                                                            X     /s/ Jan Perry Lederer                                             12/28/2010
                                                                                                 Jan Perry Lederer                                                     Date
                                                                                     Exhibit C
 Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health or safety?

 ¨      Yes, and Exhibit C is attached and made a part of this petition.

 þ      No.

                                                                                     Exhibit D
 (To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)
      þ Exhibit D completed and signed by the debtor is attached and made a part of this petition.
 If this is a joint petition:
        ¨ Exhibit D also completed and signed by the joint debtor is attached and made a part of this petition.
                                                                   Information Regarding the Debtor - Venue
                                                                          (Check any applicable box.)

 þ      Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180 days immediately
        preceding the date of this petition or for a longer part of such 180 days than in any other District.


 ¨      There is a bankruptcy case concerning debtor's affiliate, general partner, or partnership pending in this District.

 ¨      Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in this District, or has no
        principal place of business or assets in the United States but is a defendant in an action or proceeding [in a federal or state court] in this District,
        or the interests of the parties will be served in regard to the relief sought in this District.

                                      Certification by a Debtor Who Resides as a Tenant of Residential Property
                                                               (Check all applicable boxes.)
 ¨      Landlord has a judgment against the debtor for possession of debtor's residence. (If box checked, complete the following.)


                                                                                        (Name of landlord that obtained judgment)




                                                                                        (Address of landlord)

 ¨      Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be permitted to cure the entire
        monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and

 ¨      Debtor has included in this petition the deposit with the court of any rent that would become due during the 30-day period after the filing of the
        petition.

 ¨      Debtor certifies that he/she has served the Landlord with this certification. (11 U.S.C. § 362(l)).
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B1 (Official Form 1) (4/10)                                                                                                                                                        Page 3
 Voluntary Petition                                                                          Name of Debtor(s):     Savannah Alexander
 (This page must be completed and filed in every case)
                                                                                        Signatures
             Signature(s) of Debtor(s) (Individual/Joint)                                                          Signature of a Foreign Representative
 I declare under penalty of perjury that the information provided in this petition is        I declare under penalty of perjury that the information provided in this petition is true
 true and correct.                                                                           and correct, that I am the foreign representative of a debtor in a foreign proceeding,
 [If petitioner is an individual whose debts are primarily consumer debts and has            and that I am authorized to file this petition.
 chosen to file under chapter 7] I am aware that I may proceed under chapter 7,
 11, 12 or 13 of title 11, United States Code, understand the relief available under
                                                                                             (Check only one box.)
 each such chapter, and choose to proceed under chapter 7.
 [If no attorney represents me and no bankruptcy petition preparer signs the
 petition] I have obtained and read the notice required by 11 U.S.C. § 342(b).
                                                                                             ¨ ICertified
                                                                                                 request relief in accordance with chapter 15 of title 11, United States Code.
                                                                                                          copies of the documents required by 11 U.S.C. § 1515 are attached.

 I request relief in accordance with the chapter of title 11, United States Code,
 specified in this petition.                                                                 ¨ Pursuant   to 11 U.S.C. § 1511, I request relief in accordance with the chapter of
                                                                                               title 11 specified in this petition. A certified copy of the order granting
                                                                                                 recognition of the foreign main proceeding is attached.


 X     /s/ Savannah Alexander
      Savannah Alexander
                                                                                             X
                                                                                                 (Signature of Foreign Representative)
 X
                                                                                                 (Printed Name of Foreign Representative)
     Telephone Number (If not represented by attorney)
     12/28/2010
     Date                                                                                        Date
                                Signature of Attorney*                                                  Signature of Non-Attorney Bankruptcy Petition Preparer
                                                                                             I declare under penalty of perjury that: (1) I am a bankruptcy petition preparer as
 X     /s/ Jan Perry Lederer                                                                 defined in 11 U.S.C. § 110; (2) I prepared this document for compensation and
      Jan Perry Lederer                                Bar No. 12108100                      have provided the debtor with a copy of this document and the notices and
                                                                                             information required under 11 U.S.C. §§ 110(b), 110(h), and 342(b); and, (3) if rules
                                                                                             or guidelines have been promulgated pursuant to 11 U.S.C. § 110(h) setting a
 Law Offices of Jan Perry Lederer, P.C.
                                                                                             maximum fee for services chargeable by bankruptcy petition preparers, I have
 750 E. Mulberry Ave., Ste. 401                                                              given the debtor notice of the maximum amount before preparing any document
 San Antonio, Texas 78212                                                                    for filing for a debtor or accepting any fee from the debtor, as required in that
                                                                                             section. Official Form 19 is attached.


          (210) 733-9400
 Phone No.______________________        (210) 733-5966
                                 Fax No.______________________
                                                                                             Printed Name and title, if any, of Bankruptcy Petition Preparer
     12/28/2010
     Date
 *In a case in which § 707(b)(4)(D) applies, this signature also constitutes a               Social-Security number (If the bankruptcy petition preparer is not an individual,
 certification that the attorney has no knowledge after an inquiry that the                  state the Social-Security number of the officer, principal, responsible person or
 information in the schedules is incorrect.                                                  partner of the bankruptcy petition preparer.) (Required by 11 U.S.C. § 110.)


                Signature of Debtor (Corporation/Partnership)
 I declare under penalty of perjury that the information provided in this petition is
 true and correct, and that I have been authorized to file this petition on behalf of
 the debtor.
                                                                                             Address
 The debtor requests relief in accordance with the chapter of title 11, United States
 Code, specified in this petition.
                                                                                             X
                                                                                                 Date
 X                                                                                           Signature of bankruptcy petiton preparer or officer, principal, responsible person, or
                                                                                             partner whose Social-Security number is provided above.
     Signature of Authorized Individual
                                                                                             Names and Social-Security numbers of all other individuals who prepared or
                                                                                             assisted in preparing this document unless the bankruptcy petition preparer is not
     Printed Name of Authorized Individual                                                   an individual.



     Title of Authorized Individual                                                          If more than one person prepared this document, attach additional sheets
                                                                                             conforming to the appropriate official form for each person.

                                                                                             A bankruptcy petition preparer's failure to comply with the provisions of title 11
     Date                                                                                    and the Federal Rules of Bankruptcy Procedure may result in fines or
                                                                                             imprisonment or both. 11 U.S.C. § 110; 18 U.S.C. § 156.


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B 1D (Official Form 1, Exhibit D) (12/09)   UNITED STATES BANKRUPTCY COURT
                                               WESTERN DISTRICT OF TEXAS
                                                  SAN ANTONIO DIVISION
In re:   Savannah Alexander                                                              Case No.
                                                                                                              (if known)

                     Debtor(s)

              EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                               CREDIT COUNSELING REQUIREMENT


Warning: You must be able to check truthfully one of the five statements regarding credit counseling listed below. If you
cannot do so, you are not eligible to file a bankruptcy case, and the court can dismiss any case you do file. If that happens,
you will lose whatever filing fee you paid, and your creditors will be able to resume collection activities against you. If your
case is dismissed and you file another bankruptcy case later, you may be required to pay a second filing fee and you may
have to take extra steps to stop creditors' collection activities.

Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse must complete and file a separate Exhibit D.
Check one of the five statements below and attach any documents as directed.


þ   1. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit counseling agency
approved by the United States trustee or bankruptcy administrator that outlined the opportunities for available credit counseling
and assisted me in performing a related budget analysis, and I have a certificate from the agency describing the services
provided to me. Attach a copy of the certificate and a copy of any debt repayment plan developed through the agency.

¨   2. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit counseling agency
approved by the United States trustee or bankruptcy administrator that outlined the opportunities for available credit couseling
and assisted me in performing a related budget analysis, but I do not have a certificate from the agency describing the services
provided to me. You must file a copy of a certificate from the agency describing the services provided to you and a copy of any
debt repayment plan developed through the agency no later than 14 days after your bankruptcy case is filed.


¨    3. I certify that I requested credit counseling services from an approved agency but was unable to obtain the services during
the seven days from the time I made my request, and the following exigent circumstances merit a temporary waiver of the credit
counseling requirement so I can file my bankruptcy case now. [Summarize exigent circumstances here.]




If your certification is satisfactory to the court, you must still obtain the credit counseling briefing within the first 30 days
after you file your bankruptcy petition and promptly file a certificate from the agency that provided the counseling, together
with a copy of any debt management plan developed through the agency. Failure to fulfill these requirements may result in
dismissal of your case. Any extension of the 30-day deadline can be granted only for cause and is limited to a maximum of
15 days. Your case may also be dismissed if the court is not satisfied with your reasons for filing your bankruptcy case
without first receiving a credit counseling briefing.
B 1D (Official Form 1, Exhibit D) (12/09)   UNITED STATES BANKRUPTCY COURT
                                               WESTERN DISTRICT OF TEXAS
                                                  SAN ANTONIO DIVISION
In re:   Savannah Alexander                                                           Case No.
                                                                                                           (if known)

                     Debtor(s)

              EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                               CREDIT COUNSELING REQUIREMENT
                                                        Continuation Sheet No. 1



¨   4. I am not required to receive a credit counseling briefing because of:    [Check the applicable statement.] [Must be
accompanied by a motion for determination by the court.]

         ¨    Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental illness or mental deficiency so as to
              be incapable of realizing and making rational decisions with respect to financial responsibilites.);


         ¨    Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the extent of being unable, after reasonable
              effort, to participate in a credit counseling briefing in person, by telephone, or through the Internet.);


         ¨    Active military duty in a military combat zone.

¨   5. The United States trustee or bankruptcy administrator has determined that the credit counseling requirement of
11 U.S.C. § 109(h) does not apply in this district.


I certify under penalty of perjury that the information provided above is true and correct.


Signature of Debtor:    /s/ Savannah Alexander
                       Savannah Alexander

Date:       12/28/2010
B6A (Official Form 6A) (12/07)



In re Savannah Alexander                                             Case No.
                                                                                                           (if known)



                                     SCHEDULE A - REAL PROPERTY


                                                                                                        Current Value




                                                                              Husband, Wife, Joint,
                                                                                                         of Debtor's
                   Description and                  Nature of Debtor's




                                                                                or Community
                                                                                                          Interest in
                     Location of                   Interest in Property
                                                                                                      Property, Without    Amount Of
                      Property                                                                                            Secured Claim
                                                                                                       Deducting Any
                                                                                                       Secured Claim
                                                                                                        or Exemption


  None




                                                                          Total:                                 $0.00
                                                                          (Report also on Summary of Schedules)
B6B (Official Form 6B) (12/07)




In re Savannah Alexander                                                                   Case No.
                                                                                                               (if known)



                                         SCHEDULE B - PERSONAL PROPERTY




                                                                                                                    Husband, Wife, Joint,
                                                                                                                                            Current Value of
                                                                                                                                            Debtor's Interest




                                                                                                                      or Community
                                                                                                                                               in Property,

             Type of Property             None                   Description and Location of Property
                                                                                                                                            Without Deducting
                                                                                                                                              any Secured
                                                                                                                                                 Claim or
                                                                                                                                                Exemption

1. Cash on hand.                          X

2. Checking, savings or other finan-             Chase Bank-Checking Account                                              -                         ($29.67)
cial accounts, certificates of deposit
or shares in banks, savings and loan,
thrift, building and loan, and home-
stead associations, or credit unions,
brokerage houses, or cooperatives.

3. Security deposits with public util-    X
ities, telephone companies, land-
lords, and others.

4. Household goods and furnishings,              Household Goods                                                          -                         $850.00
including audio, video and computer
equipment.

5. Books; pictures and other art          X
objects; antiques; stamp, coin,
record, tape, compact disc, and other
collections or collectibles.

6. Wearing apparel.                              Clothing                                                                 -                          $95.00



7. Furs and jewelry.                             Jewelry                                                                  -                          $50.00



8. Firearms and sports, photo-            X
graphic, and other hobby equipment.

9. Interests in insurance policies.              Debtor's 401K                                                            -                         $200.00
Name insurance company of each
policy and itemize surrender or                  Debtor's Social Security Benefits - 100% of Monthly Benefit              -                       $1,105.60
refund value of each.

10. Annuities. Itemize and name           X
each issuer.
B6B (Official Form 6B) (12/07) -- Cont.




In re Savannah Alexander                                                                 Case No.
                                                                                                      (if known)



                                          SCHEDULE B - PERSONAL PROPERTY
                                                           Continuation Sheet No. 1




                                                                                                           Husband, Wife, Joint,
                                                                                                                                   Current Value of
                                                                                                                                   Debtor's Interest




                                                                                                             or Community
                                                                                                                                      in Property,

             Type of Property              None                Description and Location of Property
                                                                                                                                   Without Deducting
                                                                                                                                     any Secured
                                                                                                                                        Claim or
                                                                                                                                       Exemption


11. Interests in an education IRA as       X
defined in 26 U.S.C. § 530(b)(1) or
under a qualified State tuition plan
as defined in 26 U.S.C. § 529(b)(1).
Give particulars. (File separately
the record(s) of any such interest(s).
11 U.S.C. § 521(c).)

12. Interests in IRA, ERISA, Keogh,        X
or other pension or profit sharing
plans. Give particulars.

13. Stock and interests in incorpo-        X
rated and unincorporated businesses.
Itemize.

14. Interests in partnerships or joint     X
ventures. Itemize.

15. Government and corporate bonds         X
and other negotiable and non-
negotiable instruments.

16. Accounts receivable.                   X

17. Alimony, maintenance, support,         X
and property settlements to which the
debtor is or may be entitled. Give
particulars.

18. Other liquidated debts owed to                Estimated 2010 Tax Return Refund                               -                       $1,000.00
debtor including tax refunds. Give
particulars.
B6B (Official Form 6B) (12/07) -- Cont.




In re Savannah Alexander                                                                   Case No.
                                                                                                        (if known)



                                           SCHEDULE B - PERSONAL PROPERTY
                                                             Continuation Sheet No. 2




                                                                                                             Husband, Wife, Joint,
                                                                                                                                     Current Value of
                                                                                                                                     Debtor's Interest




                                                                                                               or Community
                                                                                                                                        in Property,

             Type of Property               None                 Description and Location of Property
                                                                                                                                     Without Deducting
                                                                                                                                       any Secured
                                                                                                                                          Claim or
                                                                                                                                         Exemption


19. Equitable or future interests, life     X
estates, and rights or powers exercis-
able for the benefit of the debtor other
than those listed in Schedule A - Real
Property.

20. Contingent and noncontingent            X
interests in estate of a decedent, death
benefit plan, life insurance policy, or
trust.

21. Other contingent and unliqui-           X
dated claims of every nature,
including tax refunds, counterclaims
of the debtor, and rights to setoff
claims. Give estimated value of each.

22. Patents, copyrights, and other          X
intellectual property. Give
particulars.

23. Licenses, franchises, and other         X
general intangibles. Give particulars.

24. Customer lists or other compilations    X
containing personally identifiable
information (as defined in 11 U.S.C.
§ 101(41A)) provided to the debtor by
individuals in connection with obtaining
a product or service from the debtor
primarily for personal, family, or
household purposes.

25. Automobiles, trucks, trailers,                 2002 Chevy Trailblazer                                          -                       $5,368.75
and other vehicles and accessories.

26. Boats, motors, and accessories.         X
B6B (Official Form 6B) (12/07) -- Cont.




In re Savannah Alexander                                                                      Case No.
                                                                                                                     (if known)



                                          SCHEDULE B - PERSONAL PROPERTY
                                                              Continuation Sheet No. 3




                                                                                                                          Husband, Wife, Joint,
                                                                                                                                                  Current Value of
                                                                                                                                                  Debtor's Interest




                                                                                                                            or Community
                                                                                                                                                     in Property,

             Type of Property                 None                Description and Location of Property
                                                                                                                                                  Without Deducting
                                                                                                                                                    any Secured
                                                                                                                                                       Claim or
                                                                                                                                                      Exemption


27. Aircraft and accessories.                 X

28. Office equipment, furnishings,            X
and supplies.

29. Machinery, fixtures, equipment,           X
and supplies used in business.

30. Inventory.                                X

31. Animals.                                         2 Dogs                                                                     -                         $200.00


32. Crops - growing or harvested.             X
Give particulars.

33. Farming equipment and                     X
implements.

34. Farm supplies, chemicals, and             X
feed.

35. Other personal property of any            X
kind not already listed. Itemize.




                                                                          3           continuation sheets attached   Total >                            $8,839.68
             (Include amounts from any continuation sheets attached. Report total also on Summary of Schedules.)
B6C (Official Form 6C) (4/10)



In re Savannah Alexander                                                                          Case No.
                                                                                                                    (If known)



                                     SCHEDULE C - PROPERTY CLAIMED AS EXEMPT


 Debtor claims the exemptions to which debtor is entitled under:               ¨    Check if debtor claims a homestead exemption that exceeds
 (Check one box)                                                                    $146,450.*

 þ    11 U.S.C. § 522(b)(2)
 ¨    11 U.S.C. § 522(b)(3)




                                                                                                                                      Current
                                                                                                                                 Value of Property
                                                              Specify Law Providing Each                 Value of Claimed
              Description of Property                                                                                            Without Deducting
                                                                       Exemption                            Exemption
                                                                                                                                     Exemption



 Chase Bank-Checking Account                              11 U.S.C. § 522(d)(5)                                      $0.00                ($29.67)

 Household Goods                                          11 U.S.C. § 522(d)(3)                                   $850.00                 $850.00

 Clothing                                                 11 U.S.C. § 522(d)(3)                                     $95.00                  $95.00

 Jewelry                                                  11 U.S.C. § 522(d)(4)                                     $50.00                  $50.00

 Debtor's 401K                                            11 U.S.C. § 522(d)(12)                                  $200.00                 $200.00

 Debtor's Social Security Benefits - 100% of              11 U.S.C. § 522(d)(10)(A)                             $1,105.60               $1,105.60
 Monthly Benefit

 Estimated 2010 Tax Return Refund                         11 U.S.C. § 522(d)(5)                                 $1,000.00               $1,000.00

 2002 Chevy Trailblazer                                   11 U.S.C. § 522(d)(2)                                 $3,450.00               $5,368.75

                                                          11 U.S.C. § 522(d)(5)                                 $1,918.75

 2 Dogs                                                   11 U.S.C. § 522(d)(3)                                   $200.00                 $200.00




* Amount subject to adjustment on 4/1/13 and every three years thereafter with respect to cases
commenced on or after the date of adjustment.
                                                                                                                $8,869.35               $8,839.68
B6D (Official Form 6D) (12/07)
          In re Savannah Alexander                                                                       Case No.
                                                                                                                                       (if known)



                               SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
                         þ    Check this box if debtor has no creditors holding secured claims to report on this Schedule D.




                                                          HUSBAND, WIFE, JOINT,
         CREDITOR'S NAME AND                                                        DATE CLAIM WAS                               AMOUNT OF          UNSECURED




                                                                                                                  UNLIQUIDATED
           MAILING ADDRESS                                                        INCURRED, NATURE                                 CLAIM            PORTION, IF




                                                                                                                   CONTINGENT
                                                            OR COMMUNITY
                                               CODEBTOR




                                                                                                                    DISPUTED
       INCLUDING ZIP CODE AND                                                        OF LIEN, AND                                 WITHOUT              ANY
         AN ACCOUNT NUMBER                                                         DESCRIPTION AND                               DEDUCTING
         (See Instructions Above.)                                                     VALUE OF                                   VALUE OF
                                                                                  PROPERTY SUBJECT                               COLLATERAL
                                                                                        TO LIEN




                                                                                         Subtotal (Total of this Page) >                   $0.00               $0.00
                                                                                        Total (Use only on last page) >                     $0.00               $0.00
________________continuation
       No                    sheets attached                                                                                     (Report also on    (If applicable,
                                                                                                                                 Summary of         report also on
                                                                                                                                 Schedules.)        Statistical
                                                                                                                                                    Summary of
                                                                                                                                                    Certain Liabilities
                                                                                                                                                    and Related
                                                                                                                                                    Data.)
B6E (Official Form 6E) (04/10)

In re Savannah Alexander                                                                          Case No.
                                                                                                                            (If Known)



                    SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS

þ Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

TYPES OF PRIORITY CLAIMS                       (Check the appropriate box(es) below if claims in that category are listed on the attached sheets.)

¨   Domestic Support Obligations
    Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian,
    or responsible relative of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent
    provided in 11 U.S.C. § 507(a)(1).


¨   Extensions of credit in an involuntary case
    Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of
    the appointment of a trustee or the order for relief. 11 U.S.C. § 507(a)(3).

¨   Wages, salaries, and commissions
    Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to
    qualifying independent sales representatives up to $11,725* per person earned within 180 days immediately preceding the filing of the original
    petition, or the cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).


¨   Contributions to employee benefit plans
    Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the
    cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).


¨   Certain farmers and fishermen
    Claims of certain farmers and fishermen, up to $5,775* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).


¨   Deposits by individuals
    Claims of individuals up to $2,600* for deposits for the purchase, lease or rental of property or services for personal, family, or household use,
    that were not delivered or provided. 11 U.S.C. § 507(a)(7).


¨   Taxes and Certain Other Debts Owed to Governmental Units
    Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).


¨   Commitments to Maintain the Capital of an Insured Depository Institution
    Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of Governors
    of the Federal Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C.
    § 507(a)(9).


¨   Claims for Death or Personal Injury While Debtor Was Intoxicated
    Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using
    alcohol, a drug, or another substance. 11 U.S.C. § 507(a)(10).


¨   Administrative allowances under 11 U.S.C. Sec. 330
    Claims based on services rendered by the trustee, examiner, professional person, or attorney and by any paraprofessional person employed
    by such person as approved by the court and/or in accordance with 11 U.S.C. §§ 326, 328, 329 and 330.


* Amounts are subject to adjustment on 4/01/13, and every three years thereafter with respect to cases commenced on or after the date of
adjustment.

________________continuation
       No                    sheets attached
B6F (Official Form 6F) (12/07)
  In re Savannah Alexander                                                                                           Case No.
                                                                                                                                (if known)



                    SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
¨   Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.




                                                               HUSBAND, WIFE, JOINT,
                CREDITOR'S NAME,                                                                      DATE CLAIM WAS                                 AMOUNT OF




                                                                                                                                      UNLIQUIDATED
                MAILING ADDRESS                                                                        INCURRED AND                                    CLAIM




                                                                                                                                       CONTINGENT
                                                                 OR COMMUNITY
                                                    CODEBTOR




                                                                                                                                        DISPUTED
              INCLUDING ZIP CODE,                                                                   CONSIDERATION FOR
            AND ACCOUNT NUMBER                                                                             CLAIM.
             (See instructions above.)                                                            IF CLAIM IS SUBJECT TO
                                                                                                     SETOFF, SO STATE.


ACCT #: xxxxxx2756                                                                     DATE INCURRED:   06/2004
                                                                                       CONSIDERATION:
Aaron Sales & Lease Ow                                                                 Lease                                                                 $0.00
1015 Cobb Place Blvd Nw                                                                REMARKS:
                                                                   -
Kennesaw, GA 30144



ACCT #: xxx4602                                                                        DATE INCURRED:   02/14/2006
                                                                                       CONSIDERATION:
Azuma Lea                                                                              Lease                                                                 $0.00
2905 San Gabriel St #218                                                               REMARKS:
                                                                   -
Austin, TX 78705



ACCT #: xxxxxxxxxxxxxxxxxxx0627                                                        DATE INCURRED:   06/2007
                                                                                       CONSIDERATION:
Chela                                                                                  Educational                                                      $51,314.00
Attn: Bankruptcy                                                                       REMARKS:
                                                                   -
PO Box 9500
Wilkes-Barre, PA 18773

ACCT #: xxxxxxxxxxxxxxxxxxx0309                                                        DATE INCURRED:   03/2010
                                                                                       CONSIDERATION:
Chela                                                                                  Educational                                                       $5,406.00
Attn: Bankruptcy                                                                       REMARKS:
                                                                   -
PO Box 9500
Wilkes-Barre, PA 18773

ACCT #: xxxxxxxxxxxxxxxxxxx0129                                                        DATE INCURRED:   01/2008
                                                                                       CONSIDERATION:
Chela                                                                                  Educational                                                       $4,565.00
Attn: Bankruptcy                                                                       REMARKS:
                                                                   -
PO Box 9500
Wilkes-Barre, PA 18773

ACCT #: xxxxxxxxxxxxxxxxxxx0417                                                        DATE INCURRED:   04/2008
                                                                                       CONSIDERATION:
Chela                                                                                  Educational                                                       $3,498.00
Attn: Bankruptcy                                                                       REMARKS:
                                                                   -
PO Box 9500
Wilkes-Barre, PA 18773

                                                                                                                                  Subtotal >             $64,783.00

                                                                                                                         Total >
                                                                           (Use only on last page of the completed Schedule F.)
________________continuation
       12                    sheets attached                   (Report also on Summary of Schedules and, if applicable, on the
                                                                   Statistical Summary of Certain Liabilities and Related Data.)
B6F (Official Form 6F) (12/07) - Cont.
  In re Savannah Alexander                                                                                           Case No.
                                                                                                                                (if known)



                     SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS




                                                                  HUSBAND, WIFE, JOINT,
                CREDITOR'S NAME,                                                                         DATE CLAIM WAS                              AMOUNT OF




                                                                                                                                      UNLIQUIDATED
                MAILING ADDRESS                                                                           INCURRED AND                                 CLAIM




                                                                                                                                       CONTINGENT
                                                                    OR COMMUNITY
                                                       CODEBTOR




                                                                                                                                        DISPUTED
              INCLUDING ZIP CODE,                                                                      CONSIDERATION FOR
            AND ACCOUNT NUMBER                                                                                CLAIM.
             (See instructions above.)                                                               IF CLAIM IS SUBJECT TO
                                                                                                        SETOFF, SO STATE.


ACCT #: xxxxxxxxxxxxxxxxxxx0529                                                           DATE INCURRED:   05/2008
                                                                                          CONSIDERATION:
Chela                                                                                     Educational                                                   $3,460.00
Attn: Bankruptcy                                                                          REMARKS:
                                                                      -
PO Box 9500
Wilkes-Barre, PA 18773

ACCT #: xxxxxxxxxxxxxxxxxxx0814                                                           DATE INCURRED:   08/2006
                                                                                          CONSIDERATION:
Chela                                                                                     Educational                                                   $3,286.00
Attn: Bankruptcy                                                                          REMARKS:
                                                                      -
PO Box 9500
Wilkes-Barre, PA 18773

ACCT #: xxxxxxxxxxx0004                                                                   DATE INCURRED:   08/2005
                                                                                          CONSIDERATION:
Chela                                                                                     Educational                                                       $0.00
Attn: Bankruptcy                                                                          REMARKS:
                                                                      -
PO Box 9500
Wilkes-Barre, PA 18773

ACCT #: xxxxxxxxxxx0003                                                                   DATE INCURRED:   08/2005
                                                                                          CONSIDERATION:
Chela                                                                                     Educational                                                       $0.00
Attn: Bankruptcy                                                                          REMARKS:
                                                                      -
PO Box 9500
Wilkes-Barre, PA 18773

ACCT #: xxxxxxxxxxx0002                                                                   DATE INCURRED:   08/2004
                                                                                          CONSIDERATION:
Chela                                                                                     Educational                                                       $0.00
Attn: Bankruptcy                                                                          REMARKS:
                                                                      -
PO Box 9500
Wilkes-Barre, PA 18773

ACCT #: xxxxxxxxxxx0001                                                                   DATE INCURRED:   08/2004
                                                                                          CONSIDERATION:
Chela                                                                                     Educational                                                       $0.00
Attn: Bankruptcy                                                                          REMARKS:
                                                                      -
PO Box 9500
Wilkes-Barre, PA 18773

Sheet no. __________
              1        of __________
                              12     continuation sheets attached to                                                              Subtotal >             $6,746.00
Schedule of Creditors Holding Unsecured Nonpriority Claims
                                                                                                                            Total >
                                                                              (Use only on last page of the completed Schedule F.)
                                                                  (Report also on Summary of Schedules and, if applicable, on the
                                                                      Statistical Summary of Certain Liabilities and Related Data.)
B6F (Official Form 6F) (12/07) - Cont.
  In re Savannah Alexander                                                                                           Case No.
                                                                                                                                (if known)



                     SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS




                                                                  HUSBAND, WIFE, JOINT,
                CREDITOR'S NAME,                                                                         DATE CLAIM WAS                              AMOUNT OF




                                                                                                                                      UNLIQUIDATED
                MAILING ADDRESS                                                                           INCURRED AND                                 CLAIM




                                                                                                                                       CONTINGENT
                                                                    OR COMMUNITY
                                                       CODEBTOR




                                                                                                                                        DISPUTED
              INCLUDING ZIP CODE,                                                                      CONSIDERATION FOR
            AND ACCOUNT NUMBER                                                                                CLAIM.
             (See instructions above.)                                                               IF CLAIM IS SUBJECT TO
                                                                                                        SETOFF, SO STATE.


ACCT #: xxxxxxxxxxx0020                                                                   DATE INCURRED:   05/2004
                                                                                          CONSIDERATION:
Chela                                                                                     Educational                                                      $0.00
Attn: Bankruptcy                                                                          REMARKS:
                                                                      -
PO Box 9500
Wilkes-Barre, PA 18773

ACCT #: xxxxxxxxxxx0019                                                                   DATE INCURRED:   05/2004
                                                                                          CONSIDERATION:
Chela                                                                                     Educational                                                      $0.00
Attn: Bankruptcy                                                                          REMARKS:
                                                                      -
PO Box 9500
Wilkes-Barre, PA 18773

ACCT #: xxxxxxxxxxx0018                                                                   DATE INCURRED:   01/2004
                                                                                          CONSIDERATION:
Chela                                                                                     Educational                                                      $0.00
Attn: Bankruptcy                                                                          REMARKS:
                                                                      -
PO Box 9500
Wilkes-Barre, PA 18773

ACCT #: xxxxxxxxxxx0017                                                                   DATE INCURRED:   01/2004
                                                                                          CONSIDERATION:
Chela                                                                                     Educational                                                      $0.00
Attn: Bankruptcy                                                                          REMARKS:
                                                                      -
PO Box 9500
Wilkes-Barre, PA 18773

ACCT #: xxxxxxxxxxx0006                                                                   DATE INCURRED:   08/2002
                                                                                          CONSIDERATION:
Chela                                                                                     Educational                                                      $0.00
Attn: Bankruptcy                                                                          REMARKS:
                                                                      -
PO Box 9500
Wilkes-Barre, PA 18773

ACCT #: xxxxxxxxxxx0004                                                                   DATE INCURRED:   05/2002
                                                                                          CONSIDERATION:
Chela                                                                                     Educational                                                      $0.00
Attn: Bankruptcy                                                                          REMARKS:
                                                                      -
PO Box 9500
Wilkes-Barre, PA 18773

Sheet no. __________
              2        of __________
                              12     continuation sheets attached to                                                              Subtotal >                $0.00
Schedule of Creditors Holding Unsecured Nonpriority Claims
                                                                                                                            Total >
                                                                              (Use only on last page of the completed Schedule F.)
                                                                  (Report also on Summary of Schedules and, if applicable, on the
                                                                      Statistical Summary of Certain Liabilities and Related Data.)
B6F (Official Form 6F) (12/07) - Cont.
  In re Savannah Alexander                                                                                           Case No.
                                                                                                                                (if known)



                     SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS




                                                                  HUSBAND, WIFE, JOINT,
                CREDITOR'S NAME,                                                                         DATE CLAIM WAS                              AMOUNT OF




                                                                                                                                      UNLIQUIDATED
                MAILING ADDRESS                                                                           INCURRED AND                                 CLAIM




                                                                                                                                       CONTINGENT
                                                                    OR COMMUNITY
                                                       CODEBTOR




                                                                                                                                        DISPUTED
              INCLUDING ZIP CODE,                                                                      CONSIDERATION FOR
            AND ACCOUNT NUMBER                                                                                CLAIM.
             (See instructions above.)                                                               IF CLAIM IS SUBJECT TO
                                                                                                        SETOFF, SO STATE.


ACCT #: xxxxxxxxxxx0009                                                                   DATE INCURRED:   08/2006
                                                                                          CONSIDERATION:
Chela                                                                                     Educational                                                      $0.00
Attn: Bankruptcy                                                                          REMARKS:
                                                                      -
PO Box 9500
Wilkes-Barre, PA 18773

ACCT #: xxxxxxxxxxx0003                                                                   DATE INCURRED:   12/2000
                                                                                          CONSIDERATION:
Chela                                                                                     Educational                                                      $0.00
Attn: Bankruptcy                                                                          REMARKS:
                                                                      -
PO Box 9500
Wilkes-Barre, PA 18773

ACCT #: xxxxxxxxxxx0002                                                                   DATE INCURRED:   07/2000
                                                                                          CONSIDERATION:
Chela                                                                                     Educational                                                      $0.00
Attn: Bankruptcy                                                                          REMARKS:
                                                                      -
PO Box 9500
Wilkes-Barre, PA 18773

ACCT #: xxxxxxxxx1066                                                                     DATE INCURRED:   08/2002
                                                                                          CONSIDERATION:
Chela                                                                                     Educational                                                     ($1.00)
Attn: Bankruptcy                                                                          REMARKS:
                                                                      -
PO Box 9500
Wilkes-Barre, PA 18773

ACCT #: xxxxxxxxx1046                                                                     DATE INCURRED:   05/2002
                                                                                          CONSIDERATION:
Chela                                                                                     Educational                                                     ($1.00)
Attn: Bankruptcy                                                                          REMARKS:
                                                                      -
PO Box 9500
Wilkes-Barre, PA 18773

ACCT #: xxxxxxxxxxx0001                                                                   DATE INCURRED:   09/1999
                                                                                          CONSIDERATION:
Chela                                                                                     Educational                                                      $0.00
Attn: Bankruptcy                                                                          REMARKS:
                                                                      -
PO Box 9500
Wilkes-Barre, PA 18773

Sheet no. __________
              3        of __________
                              12     continuation sheets attached to                                                              Subtotal >               ($2.00)
Schedule of Creditors Holding Unsecured Nonpriority Claims
                                                                                                                            Total >
                                                                              (Use only on last page of the completed Schedule F.)
                                                                  (Report also on Summary of Schedules and, if applicable, on the
                                                                      Statistical Summary of Certain Liabilities and Related Data.)
B6F (Official Form 6F) (12/07) - Cont.
  In re Savannah Alexander                                                                                           Case No.
                                                                                                                                (if known)



                     SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS




                                                                  HUSBAND, WIFE, JOINT,
                CREDITOR'S NAME,                                                                         DATE CLAIM WAS                              AMOUNT OF




                                                                                                                                      UNLIQUIDATED
                MAILING ADDRESS                                                                           INCURRED AND                                 CLAIM




                                                                                                                                       CONTINGENT
                                                                    OR COMMUNITY
                                                       CODEBTOR




                                                                                                                                        DISPUTED
              INCLUDING ZIP CODE,                                                                      CONSIDERATION FOR
            AND ACCOUNT NUMBER                                                                                CLAIM.
             (See instructions above.)                                                               IF CLAIM IS SUBJECT TO
                                                                                                        SETOFF, SO STATE.


ACCT #: xxxxxxxxx1146                                                                     DATE INCURRED:   08/2003
                                                                                          CONSIDERATION:
Chela                                                                                     Educational                                                      $0.00
Attn: Bankruptcy                                                                          REMARKS:
                                                                      -
PO Box 9500
Wilkes-Barre, PA 18773

ACCT #: xxxxxxxxx1156                                                                     DATE INCURRED:   08/2003
                                                                                          CONSIDERATION:
Chela                                                                                     Educational                                                      $0.00
Attn: Bankruptcy                                                                          REMARKS:
                                                                      -
PO Box 9500
Wilkes-Barre, PA 18773

ACCT #: xxxxxxxxx1166                                                                     DATE INCURRED:   08/2003
                                                                                          CONSIDERATION:
Chela                                                                                     Educational                                                      $0.00
Attn: Bankruptcy                                                                          REMARKS:
                                                                      -
PO Box 9500
Wilkes-Barre, PA 18773

ACCT #: xxxxxxxxx1116                                                                     DATE INCURRED:   08/2003
                                                                                          CONSIDERATION:
Chela                                                                                     Educational                                                      $0.00
Attn: Bankruptcy                                                                          REMARKS:
                                                                      -
PO Box 9500
Wilkes-Barre, PA 18773

ACCT #: xxxxxxxxx1136                                                                     DATE INCURRED:   05/2003
                                                                                          CONSIDERATION:
Chela                                                                                     Educational                                                      $0.00
Attn: Bankruptcy                                                                          REMARKS:
                                                                      -
PO Box 9500
Wilkes-Barre, PA 18773

ACCT #: xxxxxxxxx1126                                                                     DATE INCURRED:   05/2003
                                                                                          CONSIDERATION:
Chela                                                                                     Educational                                                      $0.00
Attn: Bankruptcy                                                                          REMARKS:
                                                                      -
PO Box 9500
Wilkes-Barre, PA 18773

Sheet no. __________
              4        of __________
                              12     continuation sheets attached to                                                              Subtotal >                $0.00
Schedule of Creditors Holding Unsecured Nonpriority Claims
                                                                                                                            Total >
                                                                              (Use only on last page of the completed Schedule F.)
                                                                  (Report also on Summary of Schedules and, if applicable, on the
                                                                      Statistical Summary of Certain Liabilities and Related Data.)
B6F (Official Form 6F) (12/07) - Cont.
  In re Savannah Alexander                                                                                           Case No.
                                                                                                                                (if known)



                     SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS




                                                                  HUSBAND, WIFE, JOINT,
                CREDITOR'S NAME,                                                                         DATE CLAIM WAS                              AMOUNT OF




                                                                                                                                      UNLIQUIDATED
                MAILING ADDRESS                                                                           INCURRED AND                                 CLAIM




                                                                                                                                       CONTINGENT
                                                                    OR COMMUNITY
                                                       CODEBTOR




                                                                                                                                        DISPUTED
              INCLUDING ZIP CODE,                                                                      CONSIDERATION FOR
            AND ACCOUNT NUMBER                                                                                CLAIM.
             (See instructions above.)                                                               IF CLAIM IS SUBJECT TO
                                                                                                        SETOFF, SO STATE.


ACCT #: xxxxxxxxx1096                                                                     DATE INCURRED:   01/2003
                                                                                          CONSIDERATION:
Chela                                                                                     Educational                                                       $0.00
Attn: Bankruptcy                                                                          REMARKS:
                                                                      -
PO Box 9500
Wilkes-Barre, PA 18773

ACCT #: xxxxxxxxx1086                                                                     DATE INCURRED:   01/2003
                                                                                          CONSIDERATION:
Chela                                                                                     Educational                                                       $0.00
Attn: Bankruptcy                                                                          REMARKS:
                                                                      -
PO Box 9500
Wilkes-Barre, PA 18773

ACCT #: xxxx3445                                                                          DATE INCURRED:
                                                                                          CONSIDERATION:
Collection                                                                                Unknown Loan Type                                               $274.00
CCS                                                                                       REMARKS:
                                                                      -
PO Box 709
Needham, MA 02494

ACCT #: xxxx8485                                                                          DATE INCURRED:   01/2007
                                                                                          CONSIDERATION:
Credit Management                                                                         Collection Attorney                                           $1,057.00
4200 International Pwy                                                                    REMARKS:
                                                                      -
Carrolton, TX 75007



ACCT #: xxxx2086                                                                          DATE INCURRED:   11/2009
                                                                                          CONSIDERATION:
Credit Management                                                                         Collection Attorney                                             $591.00
4200 International Pwy                                                                    REMARKS:
                                                                      -
Carrolton, TX 75007



ACCT #: xxxx9295                                                                          DATE INCURRED:   09/2006
                                                                                          CONSIDERATION:
Credit Management                                                                         Collection Attorney                                             $376.00
4200 International Pwy                                                                    REMARKS:
                                                                      -
Carrolton, TX 75007



Sheet no. __________
              5        of __________
                              12     continuation sheets attached to                                                              Subtotal >             $2,298.00
Schedule of Creditors Holding Unsecured Nonpriority Claims
                                                                                                                            Total >
                                                                              (Use only on last page of the completed Schedule F.)
                                                                  (Report also on Summary of Schedules and, if applicable, on the
                                                                      Statistical Summary of Certain Liabilities and Related Data.)
B6F (Official Form 6F) (12/07) - Cont.
  In re Savannah Alexander                                                                                           Case No.
                                                                                                                                (if known)



                     SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS




                                                                  HUSBAND, WIFE, JOINT,
                CREDITOR'S NAME,                                                                         DATE CLAIM WAS                              AMOUNT OF




                                                                                                                                      UNLIQUIDATED
                MAILING ADDRESS                                                                           INCURRED AND                                 CLAIM




                                                                                                                                       CONTINGENT
                                                                    OR COMMUNITY
                                                       CODEBTOR




                                                                                                                                        DISPUTED
              INCLUDING ZIP CODE,                                                                      CONSIDERATION FOR
            AND ACCOUNT NUMBER                                                                                CLAIM.
             (See instructions above.)                                                               IF CLAIM IS SUBJECT TO
                                                                                                        SETOFF, SO STATE.


ACCT #: xxxxxxxxxxx7674                                                                   DATE INCURRED:   09/2010
                                                                                          CONSIDERATION:
Dept Of Education/neln                                                                    Educational                                                   $1,125.00
121 S 13th St                                                                             REMARKS:
                                                                      -
Lincoln, NE 68508



ACCT #: xxxxxxxxxxxx6089                                                                  DATE INCURRED:   08/2006
                                                                                          CONSIDERATION:
First Premier Bank                                                                        Credit Card                                                     $507.00
3820 N Louise Ave                                                                         REMARKS:
                                                                      -
Sioux Falls, SD 57107



ACCT #: xxxxxxxxxxxx0035                                                                  DATE INCURRED:   01/2004
                                                                                          CONSIDERATION:
First Premier Bank                                                                        Credit Card                                                     $396.00
3820 N Louise Ave                                                                         REMARKS:
                                                                      -
Sioux Falls, SD 57107



ACCT #: xxxxxxx1382                                                                       DATE INCURRED:   06/2008
                                                                                          CONSIDERATION:
Frost National Bank                                                                       Deposit Related                                                 $313.00
Box 1600                                                                                  REMARKS:
                                                                      -
San Antonio, TX 78296



ACCT #:                                                                                   DATE INCURRED:
                                                                                          CONSIDERATION:
Internal Revenue Service                                                                  Income Taxes                                                  $5,164.01
P.O. Box 7346                                                                             REMARKS:
                                                                      -
Philadelphia, PA 19101



ACCT #: xxxxxx4525                                                                        DATE INCURRED:   01/2010
                                                                                          CONSIDERATION:
National Credit Soluti                                                                    Collection Attorney                                             $185.00
Po Box 15779                                                                              REMARKS:
                                                                      -
Oklahoma City, OK 73155



Sheet no. __________
              6        of __________
                              12     continuation sheets attached to                                                              Subtotal >             $7,690.01
Schedule of Creditors Holding Unsecured Nonpriority Claims
                                                                                                                            Total >
                                                                              (Use only on last page of the completed Schedule F.)
                                                                  (Report also on Summary of Schedules and, if applicable, on the
                                                                      Statistical Summary of Certain Liabilities and Related Data.)
B6F (Official Form 6F) (12/07) - Cont.
  In re Savannah Alexander                                                                                              Case No.
                                                                                                                                   (if known)



                     SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS




                                                                  HUSBAND, WIFE, JOINT,
                CREDITOR'S NAME,                                                                         DATE CLAIM WAS                                 AMOUNT OF




                                                                                                                                         UNLIQUIDATED
                MAILING ADDRESS                                                                           INCURRED AND                                    CLAIM




                                                                                                                                          CONTINGENT
                                                                    OR COMMUNITY
                                                       CODEBTOR




                                                                                                                                           DISPUTED
              INCLUDING ZIP CODE,                                                                      CONSIDERATION FOR
            AND ACCOUNT NUMBER                                                                                CLAIM.
             (See instructions above.)                                                               IF CLAIM IS SUBJECT TO
                                                                                                        SETOFF, SO STATE.


ACCT #: xxxx1785                                                                          DATE INCURRED:   02/2010
                                                                                          CONSIDERATION:
National Recovery Agen                                                                    Collection Attorney                                                 $97.00
2491 Paxton Street                                                                        REMARKS:
                                                                      -
Harrisburg, PA 17111



ACCT #: xxxx8824                                                                          DATE INCURRED:   02/2009
                                                                                          CONSIDERATION:
National Recovery Agen                                                                    Collection Attorney                                                 $33.00
2491 Paxton Street                                                                        REMARKS:
                                                                      -
Harrisburg, PA 17111



ACCT #: xxxxxxx1001                                                                       DATE INCURRED:   07/23/1998
                                                                                          CONSIDERATION:
Personal Credit Plan                                                                      Unsecured                                                            $0.00
1002 S. Ww White R                                                                        REMARKS:
                                                                      -
San Antonio, TX 78220



ACCT #: xxxxxxxxxxxx9309                                                                  DATE INCURRED:   03/2002
                                                                                          CONSIDERATION:
Plains Commerce Bank                                                                      Credit Card                                                          $0.00
5109 S Broadband Ln                                                                       REMARKS:
                                                                      -
Sioux Falls, SD 57108



ACCT #: xxxxx3598                                                                         DATE INCURRED:   09/2007
                                                                                          CONSIDERATION:
Portfolio Rc                                                                              Factoring Company Account                                        $2,325.00
Attn: Bankruptcy                                                                          REMARKS:
                                                                      -
PO Box 41067
Norfolk, VA 23541

ACCT #: xxxxxxxxxx6321                                                                    DATE INCURRED:   04/2007
                                                                                          CONSIDERATION:
Procollect,inc                                                                            Collection Attorney                                              $2,048.00
12170 Abrams Rd Ste 100                                                                   REMARKS:
                                                                      -
Dallas, TX 75243



Sheet no. __________
              7        of __________
                              12     continuation sheets attached to                                                                 Subtotal >             $4,503.00
Schedule of Creditors Holding Unsecured Nonpriority Claims
                                                                                                                            Total >
                                                                              (Use only on last page of the completed Schedule F.)
                                                                  (Report also on Summary of Schedules and, if applicable, on the
                                                                      Statistical Summary of Certain Liabilities and Related Data.)
B6F (Official Form 6F) (12/07) - Cont.
  In re Savannah Alexander                                                                                              Case No.
                                                                                                                                   (if known)



                     SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS




                                                                  HUSBAND, WIFE, JOINT,
                CREDITOR'S NAME,                                                                         DATE CLAIM WAS                                 AMOUNT OF




                                                                                                                                         UNLIQUIDATED
                MAILING ADDRESS                                                                           INCURRED AND                                    CLAIM




                                                                                                                                          CONTINGENT
                                                                    OR COMMUNITY
                                                       CODEBTOR




                                                                                                                                           DISPUTED
              INCLUDING ZIP CODE,                                                                      CONSIDERATION FOR
            AND ACCOUNT NUMBER                                                                                CLAIM.
             (See instructions above.)                                                               IF CLAIM IS SUBJECT TO
                                                                                                        SETOFF, SO STATE.


ACCT #: xxxxxxxxxxxx8649                                                                  DATE INCURRED:   12/2008
                                                                                          CONSIDERATION:
Professional Collectio                                                                    Collection Attorney                                              $1,703.00
Po Box 45274                                                                              REMARKS:
                                                                      -
Los Angeles, CA 90045



ACCT #: xxxxx7935                                                                         DATE INCURRED:   01/2010
                                                                                          CONSIDERATION:
Rjm Acq Llc                                                                               Factoring Company Account                                          $217.00
575 Underhill Blvd Suite 224                                                              REMARKS:
                                                                      -
Syosset, NY 11791



ACCT #: xxxxxxx63A0                                                                       DATE INCURRED:   05/2004
                                                                                          CONSIDERATION:
Social Security Admin                                                                     Government Overpayment                                           $8,755.00
155-10 Jamaica Ave                                                                        REMARKS:
                                                                      -
Jamaica, NY 11432



ACCT #: xxxxxxxxxxxx1001                                                                  DATE INCURRED:   01/14/2006
                                                                                          CONSIDERATION:
Southside Cu                                                                              Automobile                                                           $0.00
3401 Sw Military                                                                          REMARKS:
                                                                      -
San Antonio, TX 78211



ACCT #: xxxxxxxxx1186                                                                     DATE INCURRED:   01/2004
                                                                                          CONSIDERATION:
Student Loan Mkt Assn                                                                     Educational                                                        ($1.00)
Attention: Claims Dept                                                                    REMARKS:
                                                                      -
PO Box 9400
Wilkes-Barre, PA 18773

ACCT #: xxxxxxxxx1176                                                                     DATE INCURRED:   01/2004
                                                                                          CONSIDERATION:
Student Loan Mkt Assn                                                                     Educational                                                        ($1.00)
Attention: Claims Dept                                                                    REMARKS:
                                                                      -
PO Box 9400
Wilkes-Barre, PA 18773

Sheet no. __________
              8        of __________
                              12     continuation sheets attached to                                                                 Subtotal >            $10,673.00
Schedule of Creditors Holding Unsecured Nonpriority Claims
                                                                                                                            Total >
                                                                              (Use only on last page of the completed Schedule F.)
                                                                  (Report also on Summary of Schedules and, if applicable, on the
                                                                      Statistical Summary of Certain Liabilities and Related Data.)
B6F (Official Form 6F) (12/07) - Cont.
  In re Savannah Alexander                                                                                              Case No.
                                                                                                                                   (if known)



                     SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS




                                                                  HUSBAND, WIFE, JOINT,
                CREDITOR'S NAME,                                                                          DATE CLAIM WAS                                AMOUNT OF




                                                                                                                                         UNLIQUIDATED
                MAILING ADDRESS                                                                            INCURRED AND                                   CLAIM




                                                                                                                                          CONTINGENT
                                                                    OR COMMUNITY
                                                       CODEBTOR




                                                                                                                                           DISPUTED
              INCLUDING ZIP CODE,                                                                       CONSIDERATION FOR
            AND ACCOUNT NUMBER                                                                                 CLAIM.
             (See instructions above.)                                                                IF CLAIM IS SUBJECT TO
                                                                                                         SETOFF, SO STATE.


ACCT #: xxxxxxxxx1066                                                                     DATE INCURRED:   04/2003
                                                                                          CONSIDERATION:
Student Loan Mkt Assn                                                                     Educational                                                        ($1.00)
Attention: Claims Dept                                                                    REMARKS:
                                                                      -
PO Box 9400
Wilkes-Barre, PA 18773

ACCT #: xxxxxxxxx1036                                                                     DATE INCURRED:   06/2001
                                                                                          CONSIDERATION:
Student Loan Mkt Assn                                                                     Educational                                                        ($1.00)
Attention: Claims Dept                                                                    REMARKS:
                                                                      -
PO Box 9400
Wilkes-Barre, PA 18773

ACCT #: xxxxxxxxx1046                                                                     DATE INCURRED:   10/2002
                                                                                          CONSIDERATION:
Student Loan Mkt Assn                                                                     Educational                                                        ($1.00)
Attention: Claims Dept                                                                    REMARKS:
                                                                      -
PO Box 9400
Wilkes-Barre, PA 18773

ACCT #: xxxxxxxxx1026                                                                     DATE INCURRED:   02/2001
                                                                                          CONSIDERATION:
Student Loan Mkt Assn                                                                     Educational                                                        ($1.00)
Attention: Claims Dept                                                                    REMARKS:
                                                                      -
PO Box 9400
Wilkes-Barre, PA 18773

ACCT #: xxxxxxxxxZ010                                                                     DATE INCURRED:   02/23/2006
                                                                                          CONSIDERATION:
Western Shamrock Corporation                                                              Note Loan                                                          $325.00
Attention: Bankruptcy                                                                     REMARKS:
                                                                      -
801 S Abe St
San Angelo, TX 76903

ACCT #: xxxxxxxxxZ009                                                                     DATE INCURRED:   06/2005
                                                                                          CONSIDERATION:
Western Shamrock Corporation                                                              Note Loan                                                            $0.00
Attention: Bankruptcy                                                                     REMARKS:
                                                                      -
801 S Abe St
San Angelo, TX 76903

Sheet no. __________
              9        of __________
                              12     continuation sheets attached to                                                                 Subtotal >              $321.00
Schedule of Creditors Holding Unsecured Nonpriority Claims
                                                                                                                            Total >
                                                                              (Use only on last page of the completed Schedule F.)
                                                                  (Report also on Summary of Schedules and, if applicable, on the
                                                                      Statistical Summary of Certain Liabilities and Related Data.)
B6F (Official Form 6F) (12/07) - Cont.
  In re Savannah Alexander                                                                                             Case No.
                                                                                                                                  (if known)



                     SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS




                                                                  HUSBAND, WIFE, JOINT,
                CREDITOR'S NAME,                                                                          DATE CLAIM WAS                               AMOUNT OF




                                                                                                                                        UNLIQUIDATED
                MAILING ADDRESS                                                                            INCURRED AND                                  CLAIM




                                                                                                                                         CONTINGENT
                                                                    OR COMMUNITY
                                                       CODEBTOR




                                                                                                                                          DISPUTED
              INCLUDING ZIP CODE,                                                                       CONSIDERATION FOR
            AND ACCOUNT NUMBER                                                                                 CLAIM.
             (See instructions above.)                                                                IF CLAIM IS SUBJECT TO
                                                                                                         SETOFF, SO STATE.


ACCT #: xxxxxxxxxZ008                                                                     DATE INCURRED:   12/2004
                                                                                          CONSIDERATION:
Western Shamrock Corporation                                                              Note Loan                                                         ($1.00)
Attention: Bankruptcy                                                                     REMARKS:
                                                                      -
801 S Abe St
San Angelo, TX 76903

ACCT #: xxxxxxxxxZ007                                                                     DATE INCURRED:   10/2004
                                                                                          CONSIDERATION:
Western Shamrock Corporation                                                              Note Loan                                                         ($1.00)
Attention: Bankruptcy                                                                     REMARKS:
                                                                      -
801 S Abe St
San Angelo, TX 76903

ACCT #: xxxxxxxxxZ006                                                                     DATE INCURRED:   05/2004
                                                                                          CONSIDERATION:
Western Shamrock Corporation                                                              Note Loan                                                         ($1.00)
Attention: Bankruptcy                                                                     REMARKS:
                                                                      -
801 S Abe St
San Angelo, TX 76903

ACCT #: xxxxxxxxxZ005                                                                     DATE INCURRED:   04/2004
                                                                                          CONSIDERATION:
Western Shamrock Corporation                                                              Note Loan                                                         ($1.00)
Attention: Bankruptcy                                                                     REMARKS:
                                                                      -
801 S Abe St
San Angelo, TX 76903

ACCT #: xxxxxxxxxZ004                                                                     DATE INCURRED:   11/2003
                                                                                          CONSIDERATION:
Western Shamrock Corporation                                                              Note Loan                                                         ($1.00)
Attention: Bankruptcy                                                                     REMARKS:
                                                                      -
801 S Abe St
San Angelo, TX 76903

ACCT #: xxxxxxxxxZ003                                                                     DATE INCURRED:   07/2003
                                                                                          CONSIDERATION:
Western Shamrock Corporation                                                              Installment Sales Contract                                        ($1.00)
Attention: Bankruptcy                                                                     REMARKS:
                                                                      -
801 S Abe St
San Angelo, TX 76903

Sheet no. __________
              10       of __________
                              12     continuation sheets attached to                                                                Subtotal >               ($6.00)
Schedule of Creditors Holding Unsecured Nonpriority Claims
                                                                                                                            Total >
                                                                              (Use only on last page of the completed Schedule F.)
                                                                  (Report also on Summary of Schedules and, if applicable, on the
                                                                      Statistical Summary of Certain Liabilities and Related Data.)
B6F (Official Form 6F) (12/07) - Cont.
  In re Savannah Alexander                                                                                             Case No.
                                                                                                                                  (if known)



                     SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS




                                                                  HUSBAND, WIFE, JOINT,
                CREDITOR'S NAME,                                                                          DATE CLAIM WAS                               AMOUNT OF




                                                                                                                                        UNLIQUIDATED
                MAILING ADDRESS                                                                            INCURRED AND                                  CLAIM




                                                                                                                                         CONTINGENT
                                                                    OR COMMUNITY
                                                       CODEBTOR




                                                                                                                                          DISPUTED
              INCLUDING ZIP CODE,                                                                       CONSIDERATION FOR
            AND ACCOUNT NUMBER                                                                                 CLAIM.
             (See instructions above.)                                                                IF CLAIM IS SUBJECT TO
                                                                                                         SETOFF, SO STATE.


ACCT #: xxxxxxxxxZ002                                                                     DATE INCURRED:   05/2003
                                                                                          CONSIDERATION:
Western Shamrock Corporation                                                              Installment Sales Contract                                        ($1.00)
Attention: Bankruptcy                                                                     REMARKS:
                                                                      -
801 S Abe St
San Angelo, TX 76903

ACCT #: xxxxxxxxxZ001                                                                     DATE INCURRED:   05/2003
                                                                                          CONSIDERATION:
Western Shamrock Corporation                                                              Note Loan                                                         ($1.00)
Attention: Bankruptcy                                                                     REMARKS:
                                                                      -
801 S Abe St
San Angelo, TX 76903

ACCT #:                                                                                   DATE INCURRED:
                                                                                          CONSIDERATION:
IRS - Special Procedure                                                                   Required Notification
P.O. Box 21126                                                                            REMARKS:
Philadelphia, PA 19114



ACCT #:                                                                                   DATE INCURRED:
                                                                                          CONSIDERATION:
U.S. Attorney                                                                             Required Notification
Vet. Admin/Fed Housing Admin.                                                             REMARKS:
601 N.W. Loop 410, Ste. 600
San Antonio, TX 78216-5512

ACCT #:                                                                                   DATE INCURRED:
                                                                                          CONSIDERATION:
U.S. Attorney General                                                                     Required Notification
10th & Constitution, Room 5111                                                            REMARKS:
Washington, DC 20530



ACCT #:                                                                                   DATE INCURRED:
                                                                                          CONSIDERATION:
U.S. Attorney General                                                                     Required Notification
Department of Education                                                                   REMARKS:
10th & Constitution, Room 5111
Washington, DC 20530

Sheet no. __________
              11       of __________
                              12     continuation sheets attached to                                                                Subtotal >               ($2.00)
Schedule of Creditors Holding Unsecured Nonpriority Claims
                                                                                                                            Total >
                                                                              (Use only on last page of the completed Schedule F.)
                                                                  (Report also on Summary of Schedules and, if applicable, on the
                                                                      Statistical Summary of Certain Liabilities and Related Data.)
B6F (Official Form 6F) (12/07) - Cont.
  In re Savannah Alexander                                                                                         Case No.
                                                                                                                              (if known)



                     SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS




                                                                  HUSBAND, WIFE, JOINT,
                CREDITOR'S NAME,                                                                         DATE CLAIM WAS                            AMOUNT OF




                                                                                                                                    UNLIQUIDATED
                MAILING ADDRESS                                                                           INCURRED AND                               CLAIM




                                                                                                                                     CONTINGENT
                                                                    OR COMMUNITY
                                                       CODEBTOR




                                                                                                                                      DISPUTED
              INCLUDING ZIP CODE,                                                                      CONSIDERATION FOR
            AND ACCOUNT NUMBER                                                                                CLAIM.
             (See instructions above.)                                                               IF CLAIM IS SUBJECT TO
                                                                                                        SETOFF, SO STATE.


ACCT #:                                                                                   DATE INCURRED:
                                                                                          CONSIDERATION:
U.S. Trustee                                                                              Required Notification
P.O. Box 1539                                                                             REMARKS:
San Antonio, TX 78295




Sheet no. __________
              12       of __________
                              12     continuation sheets attached to                                                            Subtotal >                 $0.00
Schedule of Creditors Holding Unsecured Nonpriority Claims
                                                                                                                            Total >                   $97,004.01
                                                                              (Use only on last page of the completed Schedule F.)
                                                                  (Report also on Summary of Schedules and, if applicable, on the
                                                                      Statistical Summary of Certain Liabilities and Related Data.)
B6G (Official Form 6G) (12/07)
   In re Savannah Alexander                                                             Case No.
                                                                                                        (if known)



                     SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare interests.
State nature of debtor's interest in contract, i.e., "Purchaser," "Agent," etc. State whether debtor is the lessor or lessee of a lease.
Provide the names and complete mailing addresses of all other parties to each lease or contract described. If a minor child is a party to
one of the leases of contracts, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a
minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).


¨ Check this box if debtor has no executory contracts or unexpired leases.
                                                                         DESCRIPTION OF CONTRACT OR LEASE AND NATURE OF DEBTOR'S
                                                                         INTEREST. STATE WHETHER LEASE IS FOR NONRESIDENTIAL REAL
            NAME AND MAILING ADDRESS, INCLUDING ZIP CODE,                PROPERTY. STATE CONTRACT NUMBER OF ANY GOVERNMENT
              OF OTHER PARTIES TO LEASE OR CONTRACT.                     CONTRACT.




   Sprint PCS                                                            Cell Phone Contract
   P.O. Box 660092                                                       Contract to be ASSUMED
   Dallas, TX 75266




   The Estates @ TPC                                                     Apartment Lease
   5707 TPC Parkway                                                      Contract to be ASSUMED
   San Antonio, TX 78261
B6H (Official Form 6H) (12/07)
In re Savannah Alexander                                                                           Case No.
                                                                                                                           (if known)



                                                        SCHEDULE H - CODEBTORS
Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any debts listed by the debtor
in the schedules of creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community property state, commonwealth, or
territory (including Alaska, Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within the eight-
year period immediately preceding the commencement of the case, identify the name of the debtor's spouse and of any former spouse who resides or
resided with the debtor in the community property state, commonwealth, or territory. Include all names used by the nondebtor spouse during the eight
years immediately preceding the commencement of this case. If a minor child is a codebtor or a creditor, state the child's initials and the name and
address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112
and Fed. R. Bankr. P. 1007(m).

þ Check this box if debtor has no codebtors.
                     NAME AND ADDRESS OF CODEBTOR                                                     NAME AND ADDRESS OF CREDITOR
B6I (Official Form 6I) (12/07)
In re Savannah Alexander                                                                         Case No.
                                                                                                                     (if known)



                            SCHEDULE I - CURRENT INCOME OF INDIVIDUAL DEBTOR(S)
The column labeled "Spouse" must be completed in all cases filed by joint debtors and by every married debtor, whether or not a joint petition is filed,
unless the spouses are separated and a joint petition is not filed. Do not state the name of any minor child. The average monthly income calculated on
this form may differ from the current monthly income calculated on Form 22A, 22B, or 22C.
 Debtor's Marital Status:                                             Dependents of Debtor and Spouse
                                 Relationship(s):                 Age(s):             Relationship(s):                            Age(s):
           Single




 Employment:                       Debtor                                                    Spouse
 Occupation                       Disabled
 Name of Employer
 How Long Employed
 Address of Employer



INCOME: (Estimate of average or projected monthly income at time case filed)                                      DEBTOR                    SPOUSE
1. Monthly gross wages, salary, and commissions (Prorate if not paid monthly)                                       $0.00
2. Estimate monthly overtime                                                                                        $0.00
3. SUBTOTAL                                                                                                          $0.00
4. LESS PAYROLL DEDUCTIONS
   a. Payroll taxes (includes social security tax if b. is zero)                                                     $0.00
   b. Social Security Tax                                                                                            $0.00
   c. Medicare                                                                                                       $0.00
   d. Insurance                                                                                                      $0.00
   e. Union dues                                                                                                     $0.00
   f. Retirement                                                                                                     $0.00
   g. Other (Specify)                                                                                                $0.00
   h. Other (Specify)                                                                                                $0.00
   i. Other (Specify)                                                                                                $0.00
   j. Other (Specify)                                                                                                $0.00
   k. Other (Specify)                                                                                                $0.00
5. SUBTOTAL OF PAYROLL DEDUCTIONS                                                                                    $0.00
6.    TOTAL NET MONTHLY TAKE HOME PAY                                                                                $0.00
7.  Regular income from operation of business or profession or farm (Attach detailed stmt)                           $0.00
8.  Income from real property                                                                                        $0.00
9.  Interest and dividends                                                                                           $0.00
10. Alimony, maintenance or support payments payable to the debtor for the debtor's use or                           $0.00
    that of dependents listed above
11. Social security or government assistance (Specify):
       Social Security Benefits                                                                                 $1,105.60
12. Pension or retirement income                                                                                    $0.00
13. Other monthly income (Specify):
      a.                                                                                                             $0.00
      b.                                                                                                             $0.00
      c.                                                                                                             $0.00
14. SUBTOTAL OF LINES 7 THROUGH 13                                                                              $1,105.60
15. AVERAGE MONTHLY INCOME (Add amounts shown on lines 6 and 14)                                                $1,105.60
16. COMBINED AVERAGE MONTHLY INCOME: (Combine column totals from line 15)                                                  $1,105.60
                                                                       (Report also on Summary of Schedules and, if applicable,
                                                                       on Statistical Summary of Certain Liabilities and Related Data)
17. Describe any increase or decrease in income reasonably anticipated to occur within the year following the filing of this document:
None.
B6J (Official Form 6J) (12/07)
  IN RE: Savannah Alexander                                                                     Case No.
                                                                                                                   (if known)



                    SCHEDULE J - CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)
Complete this schedule by estimating the average or projected monthly expenses of the debtor and the debtor's family at time case filed. Prorate any
payments made bi-weekly, quarterly, semi-annually, or annually to show monthly rate. The average monthly expenses calculated on this form may
differ from the deductions from income allowed on Form 22A or 22C.

    Check this box if a joint petition is filed and debtor's spouse maintains a separate household. Complete a separate schedule of expenditures
¨
    labeled "Spouse."


 1. Rent or home mortgage payment (include lot rented for mobile home)                                                                       $655.00
    a. Are real estate taxes included?        ¨ Yes      þ No
    b. Is property insurance included?        ¨ Yes      þ No
 2. Utilities: a. Electricity and heating fuel                                                                                                $30.60
               b. Water and sewer                                                                                                             $24.00
               c. Telephone
               d. Other: Cell Phone                                                                                                           $16.00
 3. Home maintenance (repairs and upkeep)
 4. Food                                                                                                                                     $150.00
 5. Clothing                                                                                                                                  $25.00
 6. Laundry and dry cleaning
 7. Medical and dental expenses
 8. Transportation (not including car payments)                                                                                               $40.00
 9. Recreation, clubs and entertainment, newspapers, magazines, etc.                                                                          $25.00
 10. Charitable contributions
 11. Insurance (not deducted from wages or included in home mortgage payments)
           a. Homeowner's or renter's
           b. Life
           c. Health
           d. Auto                                                                                                                            $40.00
           e. Other:
 12. Taxes (not deducted from wages or included in home mortgage payments)
 Specify:
 13. Installment payments: (In chapter 11, 12, and 13 cases, do not list payments to be included in the plan)
             a. Auto:
             b. Other: Bedroom Rental                                                                                                        $100.00
             c. Other:
             d. Other:
 14. Alimony, maintenance, and support paid to others:
 15. Payments for support of add'l dependents not living at your home:
 16. Regular expenses from operation of business, profession, or farm (attach detailed statement)
 17.a. Other:
 17.b. Other:
 18. AVERAGE MONTHLY EXPENSES (Total lines 1-17. Report also on Summary of Schedules and,
                                                                                                                                $1,105.60
    if applicable, on the Statistical Summary of Certain Liabilities and Related Data.)
 19. Describe any increase or decrease in expenditures reasonably anticipated to occur within the year following the filing of this
 document: None.


 20. STATEMENT OF MONTHLY NET INCOME
 a. Average monthly income from Line 15 of Schedule I                                                                                     $1,105.60
 b. Average monthly expenses from Line 18 above                                                                                           $1,105.60
 c. Monthly net income (a. minus b.)                                                                                                          $0.00
B6 Summary (Official Form 6 - Summary) (12/07)
                                             UNITED STATES BANKRUPTCY COURT
                                                WESTERN DISTRICT OF TEXAS
                                                   SAN ANTONIO DIVISION
   In re Savannah Alexander                                                          Case No.

                                                                                     Chapter      7



                                                       SUMMARY OF SCHEDULES
Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from
Schedules A, B, D, E, F, I, and J in the boxes provided. Add the amounts from Schedules A and B to determine the total amount of the
debtor's assets. Add the amounts of all claims from Schedules D, E, and F to determine the total amount of the debtor's liabilities.
Individual debtors also must complete the "Statistical Summary of Certain Liabilities and Related Data" if they file a case under
chapter 7, 11, or 13.


                                          ATTACHED NO. OF
 NAME OF SCHEDULE                                                       ASSETS                 LIABILITIES                OTHER
                                           (YES/NO) SHEETS

 A - Real Property                               Yes      1                        $0.00


 B - Personal Property                           Yes      4                   $8,839.68


 C - Property Claimed                            Yes      1
     as Exempt
 D - Creditors Holding                           Yes      1                                                $0.00
     Secured Claims
 E - Creditors Holding Unsecured
     Priority Claims                             Yes      1                                                $0.00
     (Total of Claims on Schedule E)
 F - Creditors Holding Unsecured                 Yes      13                                          $97,004.01
     Nonpriority Claims
 G - Executory Contracts and                     Yes      1
    Unexpired Leases

 H - Codebtors                                   Yes      1


 I - Current Income of                           Yes      1                                                                  $1,105.60
     Individual Debtor(s)

 J - Current Expenditures of                     Yes      1                                                                  $1,105.60
    Individual Debtor(s)

                                             TOTAL        25                   $8,839.68              $97,004.01
Form 6 - Statistical Summary (12/07)
                                            UNITED STATES BANKRUPTCY COURT
                                               WESTERN DISTRICT OF TEXAS
                                                  SAN ANTONIO DIVISION
    In re Savannah Alexander                                                          Case No.

                                                                                      Chapter       7



      STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C. § 159)
If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11 U.S.C.
§ 101(8)), filing a case under chapter 7, 11, or 13, you must report all information requested below.


¨    Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to report any
     information here.

This information is for statistical purposes only under 28 U.S.C. § 159.

Summarize the following types of liabilities, as reported in the Schedules, and total them.

 Type of Liability                                                    Amount

 Domestic Support Obligations (from Schedule E)                                    $0.00

 Taxes and Certain Other Debts Owed to Governmental Units                          $0.00
 (from Schedule E)

 Claims for Death or Personal Injury While Debtor Was                              $0.00
 Intoxicated (from Schedule E) (whether disputed or undisputed)

 Student Loan Obligations (from Schedule F)                                        $0.00

 Domestic Support, Separation Agreement, and Divorce Decree
                                                                                   $0.00
 Obligations Not Reported on Schedule E

 Obligations to Pension or Profit-Sharing, and Other Similar                       $0.00
 Obligations (from Schedule F)

                                                            TOTAL                  $0.00

State the following:

 Average Income (from Schedule I, Line 16)                                     $1,105.60

 Average Expenses (from Schedule J, Line 18)                                   $1,105.60

 Current Monthly Income (from Form 22A Line 12; OR, Form 22B
 Line 11; OR, Form 22C Line 20)                                                $2,494.11

State the following:
 1. Total from Schedule D, "UNSECURED PORTION, IF ANY"
 column                                                                                                  $0.00

 2. Total from Schedule E, "AMOUNT ENTITLED TO PRIORITY"
 column.                                                                           $0.00

 3. Total from Schedule E, "AMOUNT NOT ENTITLED TO
 PRIORITY, IF ANY" column                                                                                $0.00

 4. Total from Schedule F                                                                           $97,004.01

 5. Total of non-priority unsecured debt (sum of 1, 3, and 4)                                       $97,004.01
B6 Declaration (Official Form 6 - Declaration) (12/07)
In re Savannah Alexander                                                               Case No.
                                                                                                             (if known)



                               DECLARATION CONCERNING DEBTOR'S SCHEDULES
                           DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR
    I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of                 27
sheets, and that they are true and correct to the best of my knowledge, information, and belief.



Date 12/28/2010                                              Signature    /s/ Savannah Alexander
                                                                         Savannah Alexander

Date                                                         Signature

                                                             [If joint case, both spouses must sign.]




Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or
both. 18 U.S.C. §§ 152 and 3571.
B7 (Official Form 7) (04/10)                    UNITED STATES BANKRUPTCY COURT
                                                     WESTERN DISTRICT OF TEXAS
                                                        SAN ANTONIO DIVISION
   In re:   Savannah Alexander                                                                       Case No.
                                                                                                                             (if known)



                                                 STATEMENT OF FINANCIAL AFFAIRS

       1. Income from employment or operation of business
None
       State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of the debtor's business,
 ¨     including part-time activities either as an employee or in independent trade or business, from the beginning of this calendar year to the date this
       case was commenced. State also the gross amounts received during the two years immediately preceding this calendar year. (A debtor that
       maintains, or has maintained, financial records on the basis of a fiscal rather than a calendar year may report fiscal year income. Identify the
       beginning and ending dates of the debtor's fiscal year.) If a joint petition is filed, state income for each spouse separately. (Married debtors filing
       under chapter 12 or chapter 13 must state income of both spouses whether or not a joint petition is filed, unless the spouses are separated and a
       joint petition is not filed.)
        AMOUNT                      SOURCE
        $14,104.22                  2010 Debtor's Gross Wages
        $18,482.00                  2009 Debtor's Gross Wages
        $27,286.00                  2008 Debtor's Gross Wages

       2. Income other than from employment or operation of business
None
       State the amount of income received by the debtor other than from employment, trade, profession, or operation of the debtor's business during the
 ¨     two years immediately preceding the commencement of this case. Give particulars. If a joint petition is filed, state income for each spouse
       separately. (Married debtors filing under chapter 12 or chapter 13 must state income for each spouse whether or not a joint petition is filed,
       unless the spouses are separated and a joint petition is not filed.)
        AMOUNT                      SOURCE
        $13,267.20                  2010 Debtor's Social Security Benefits
        $ 6,630.00                  2009 Debtor's Social Security Benefits

       3. Payments to creditors
       Complete a. or b., as appropriate, and c.
None
       a. Individual or joint debtor(s) with primarily consumer debts: List all payments on loans, installment purchases of goods or services, and other
 þ     debts to any creditor made within 90 days immediately preceding the commencement of this case unless the aggregate value of all property that
       constitutes or is affected by such transfer is less than $600. Indicate with an asterisk (*) any payments that were made to a creditor on account
       of a domestic support obligation or as part of an alternative repayment schedule under a plan by an approved nonprofit budgeting and credit
       counseling agency. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both spouses whether or not a joint
       petition is filed, unless the spouses are separated and a joint petition is not filed.)


None
       b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made within 90 days immediately
 þ     preceding the commencement of the case unless the aggregate value of all property that constitutes or is affected by such transfer is less than
       $5,850*. If the debtor is an individual, indicate with an asterisk (*) any payments that were made to a creditor on account of a domestic support
       obligation or as part of an alternative repayment schedule under a plan by an approved nonprofit budgeting and credit counseling agency.
       (Married debtors filing under chapter 12 or chapter 13 must include payments and other transfers by either or both spouses whether or not a joint
       petition is filed, unless the spouses are separated and a joint petition is not filed.)

       * Amount subject to adjustment on 4/01/13, and every three years thereafter with respect to cases commenced on or after the date of adjustment.


None
       c. All debtors: List all payments made within one year immediately preceding the commencement of this case to or for the benefit of creditors
 þ     who are or were insiders. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both spouses whether or
       not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)



       4. Suits and administrative proceedings, executions, garnishments and attachments
None
       a. List all suits and administrative proceedings to which the debtor is or was a party within one year immediately preceding the filing of this
 þ     bankruptcy case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses whether or
       not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)
B7 (Official Form 7) (04/10) - Cont.           UNITED STATES BANKRUPTCY COURT
                                                    WESTERN DISTRICT OF TEXAS
                                                       SAN ANTONIO DIVISION
   In re:   Savannah Alexander                                                                     Case No.
                                                                                                                           (if known)



                                                 STATEMENT OF FINANCIAL AFFAIRS
                                                                   Continuation Sheet No. 1



None
       b. Describe all property that has been attached, garnished or seized under any legal or equitable process within one year immediately preceding
 þ     the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning property of either or
       both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)


       5. Repossessions, foreclosures and returns
None
       List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu of foreclosure or returned
 þ     to the seller, within one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must
       include information concerning property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a
       joint petition is not filed.)


       6. Assignments and receiverships
None
       a. Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding the commencement of this case.
 þ     (Married debtors filing under chapter 12 or chapter 13 must include any assignment by either or both spouses whether or not a joint petition is
       filed, unless the spouses are separated and a joint petition is not filed.)

None
       b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within one year immediately preceding the
 þ     commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning property of either or both
       spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)


       7. Gifts
None
       List all gifts or charitable contributions made within one year immediately preceding the commencement of this case except ordinary and usual
 þ     gifts to family members aggregating less than $200 in value per individual family member and charitable contributions aggregating less than $100
       per recipient. (Married debtors filing under chapter 12 or chapter 13 must include gifts or contributions by either or both spouses whether or not a
       joint petition is filed, unless the spouses are separated and a joint petition is not filed.)



       8. Losses
None
       List all losses from fire, theft, other casualty or gambling within one year immediately preceding the commencement of this case or since the
 þ     commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include losses by either or both spouses whether or not
       a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)


       9. Payments related to debt counseling or bankruptcy
None
       List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for consultation concerning debt
 ¨     consolidation, relief under the bankruptcy law or preparation of a petition in bankruptcy within one year immediately preceding the commencement
       of this case.

                                                                      DATE OF PAYMENT,
                                                                      NAME OF PAYER IF                 AMOUNT OF MONEY OR DESCRIPTION
        NAME AND ADDRESS OF PAYEE                                     OTHER THAN DEBTOR                AND VALUE OF PROPERTY
        Law Offices of Jan Perry Lederer, P.C.                        12/21/2010                       $1,200.00
        750 E. Mulberry Ave., Ste. 401
        San Antonio, Texas 78212

       10. Other transfers
None
       a. List all other property, other than property transferred in the ordinary course of the business or financial affairs of the debtor, transferred
 þ     either absolutely or as security within two years immediately preceding the commencement of this case. (Married debtors filing under chapter 12
       or chapter 13 must include transfers by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint
       petition is not filed.)
B7 (Official Form 7) (04/10) - Cont.           UNITED STATES BANKRUPTCY COURT
                                                    WESTERN DISTRICT OF TEXAS
                                                       SAN ANTONIO DIVISION
   In re:   Savannah Alexander                                                                     Case No.
                                                                                                                           (if known)



                                                 STATEMENT OF FINANCIAL AFFAIRS
                                                                   Continuation Sheet No. 2



       b. List all property transferred by the debtor within ten years immediately preceding the commencement of this case to a self-settled trust or
None
       similar device of which the debtor is a beneficiary.
 þ
       11. Closed financial accounts
None
       List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were closed, sold, or otherwise
 þ     transferred within one year immediately preceding the commencement of this case. Include checking, savings, or other financial accounts,
       certificates of deposit, or other instruments; shares and share accounts held in banks, credit unions, pension funds, cooperatives, associations,
       brokerage houses and other financial institutions. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
       accounts or instruments held by or for either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint
       petition is not filed.)


       12. Safe deposit boxes
None
       List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables within one year immediately
 þ     preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include boxes or depositories of either or
       both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)



       13. Setoffs
None
       List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days preceding the commencement of this
 þ     case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses whether or not a joint
       petition is filed, unless the spouses are separated and a joint petition is not filed.)



       14. Property held for another person
None
       List all property owned by another person that the debtor holds or controls.
 þ
       15. Prior address of debtor
None
       If the debtor has moved within three years immediately preceding the commencement of this case, list all premises which the debtor occupied
 ¨     during that period and vacated prior to the commencement of this case. If a joint petition is filed, report also any separate address of either
       spouse.

        ADDRESS                                                       NAME USED                                         DATES OF OCCUPANCY
        135 Conception                                                Savannah Alexander                                2008 - 2009
        New Braunfels, TX 78130

       16. Spouses and Former Spouses
None
       If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana,
 þ     Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within eight years immediately preceding the commencement of the case,
       identify the name of the debtor's spouse and of any former spouse who resides or resided with the debtor in the community property state.
B7 (Official Form 7) (04/10) - Cont.            UNITED STATES BANKRUPTCY COURT
                                                     WESTERN DISTRICT OF TEXAS
                                                        SAN ANTONIO DIVISION
   In re:   Savannah Alexander                                                                      Case No.
                                                                                                                            (if known)



                                                 STATEMENT OF FINANCIAL AFFAIRS
                                                                    Continuation Sheet No. 3



       17. Environmental Information
       For the purpose of this question, the following definitions apply:

       "Environmental Law" means any federal, state, or local statute or regulation regulating pollution, contamination, releases of hazardous or toxic
       substances, wastes or material into the air, land, soil, surface water, groundwater, or other medium, including, but not limited to, statutes or
       regulations regulating the cleanup of these substances, wastes, or material.

       "Site" means any location, facility, or property as defined under any Environmental Law, whether or not presently or formerly owned or operated
       by the debtor, including, but not limited to, disposal sites.

       "Hazardous Material" means anything defined as a hazardous waste, hazardous substance, toxic substance, hazardous material, pollutant, or
       contaminant or similar term under an Environmental Law.



None a. List the name and address of every site for which the debtor has received notice in writing by a governmental unit that it may be liable or
 þ     potentially liable under or in violation of an Environmental Law. Indicate the governmental unit, the date of the notice, and, if known, the
       Environmental Law:



None b. List the name and address of every site for which the debtor provided notice to a governmental unit of a release of Hazardous Material.
 þ     Indicate the governmental unit to which the notice was sent and the date of the notice.



None c. List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law with respect to which the debtor is
 þ     or was a party. Indicate the name and address of the governmental unit that is or was a party to the proceeding, and the docket number.


       18. Nature, location and name of business
None
       a. If the debtor is an individual, list the names, addresses, taxpayer-identification numbers, nature of the businesses, and beginning and ending
 þ     dates of all businesses in which the debtor was an officer, director, partner, or managing executive of a corporation, partner in a partnership,
       sole proprietor, or was self-employed in a trade, profession, or other activity either full- or part-time within six years immediately preceding the
       commencement of this case, or in which the debtor owned 5 percent or more of the voting or equity securities within six years immediately
       preceding the commencement of this case.

       If the debtor is a partnership, list the names, addresses, taxpayer-identification numbers, nature of the businesses, and beginning and ending
       dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities, within six years
       immediately preceding the commencement of this case.

       If the debtor is a corporation, list the names, addresses, taxpayer-identification numbers, nature of the businesses, and beginning and ending
       dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities within six years
       immediately preceding the commencement of this case.


None
       b. Identify any business listed in response to subdivision a., above, that is "single asset real estate" as defined in 11 U.S.C. § 101.
 þ
B7 (Official Form 7) (04/10) - Cont.            UNITED STATES BANKRUPTCY COURT
                                                     WESTERN DISTRICT OF TEXAS
                                                        SAN ANTONIO DIVISION
   In re:   Savannah Alexander                                                                        Case No.
                                                                                                                               (if known)



                                                  STATEMENT OF FINANCIAL AFFAIRS
                                                                     Continuation Sheet No. 4



       The following questions are to be completed by every debtor that is a corporation or partnership and by any individual debtor who is or has been,
       within six years immediately preceding the commencement of this case, any of the following: an officer, director, managing executive, or owner of
       more than 5 percent of the voting or equity securities of a corporation; a partner, other than a limited partner, of a partnership, a sole proprietor, or
       self-employed in a trade, profession, or other activity, either full- or part-time.

       (An individual or joint debtor should complete this portion of the statement only if the debtor is or has been in business, as defined above, within
       six years immediately preceding the commencement of this case. A debtor who has not been in business within those six years should go
       directly to the signature page.)


       19. Books, records and financial statements
None
       a. List all bookkeepers and accountants who within two years immediately preceding the filing of this bankruptcy case kept or supervised the
 þ     keeping of books of account and records of the debtor.


None
       b. List all firms or individuals who within two years immediately preceding the filing of this bankruptcy case have audited the books of account
 þ     and records, or prepared a financial statement of the debtor.


None
       c. List all firms or individuals who at the time of the commencement of this case were in possession of the books of account and records of the
 þ     debtor. If any of the books of account and records are not available, explain.


None
       d. List all financial institutions, creditors and other parties, including mercantile and trade agencies, to whom a financial statement was issued by
 þ     the debtor within two years immediately preceding the commencement of this case.



       20. Inventories
None
       a. List the dates of the last two inventories taken of your property, the name of the person who supervised the taking of each inventory, and the
 þ     dollar amount and basis of each inventory.


None
       b. List the name and address of the person having possession of the records of each of the inventories reported in a., above.
 þ

       21. Current Partners, Officers, Directors and Shareholders
None
       a. If the debtor is a partnership, list the nature and percentage of partnership interest of each member of the partnership.
 þ

None
       b. If the debtor is a corporation, list all officers and directors of the corporation, and each stockholder who directly or indirectly owns, controls, or
 þ     holds 5 percent or more of the voting or equity securities of the corporation.


       22. Former partners, officers, directors and shareholders
None
       a. If the debtor is a partnership, list each member who withdrew from the partnership within one year immediately preceding the commencement
 þ     of this case.


None
       b. If the debtor is a corporation, list all officers, or directors whose relationship with the corporation terminated within one year immediately
 þ     preceding the commencement of this case.
B7 (Official Form 7) (04/10) - Cont.            UNITED STATES BANKRUPTCY COURT
                                                     WESTERN DISTRICT OF TEXAS
                                                        SAN ANTONIO DIVISION
   In re:   Savannah Alexander                                                                        Case No.
                                                                                                                              (if known)



                                                  STATEMENT OF FINANCIAL AFFAIRS
                                                                    Continuation Sheet No. 5



       23. Withdrawals from a partnership or distributions by a corporation
None
       If the debtor is a partnership or corporation, list all withdrawals or distributions credited or given to an insider, including compensation in any form,
 þ     bonuses, loans, stock redemptions, options exercised and any other perquisite during one year immediately preceding the commencement of this
       case.


       24. Tax Consolidation Group
None
       If the debtor is a corporation, list the name and federal taxpayer-identification number of the parent corporation of any consolidated group for tax
 þ     purposes of which the debtor has been a member at any time within six years immediately preceding the commencement of the case.




       25. Pension Funds
None
       If the debtor is not an individual, list the name and federal taxpayer-identification number of any pension fund to which the debtor, as an employer,
 þ     has been responsible for contributing at any time within six years immediately preceding the commencement of the case.



[If completed by an individual or individual and spouse]

I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and any
attachments thereto and that they are true and correct.

Date 12/28/2010                                                         Signature          /s/ Savannah Alexander
                                                                        of Debtor          Savannah Alexander

Date                                                                    Signature
                                                                        of Joint Debtor
                                                                        (if any)
Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both.
18 U.S.C. §§ 152 and 3571
  B 8 (Official Form 8) (12/08)

                                                 UNITED STATES BANKRUPTCY COURT
                                                    WESTERN DISTRICT OF TEXAS
                                                       SAN ANTONIO DIVISION
  IN RE:    Savannah Alexander                                                            CASE NO

                                                                                          CHAPTER       7

                        CHAPTER 7 INDIVIDUAL DEBTOR'S STATEMENT OF INTENTION

PART A -- Debts secured by property of the estate. (Part A must be fully completed for EACH debt which is secured by property of the
estate. Attach additional pages if necessary.)


 Property No.   1

 Creditor's Name:                                                              Describe Property Securing Debt:
 None




 Property will be (check one):
    ¨ Surrendered                 ¨   Retained

 If retaining the property, I intend to (check at least one):
      ¨ Redeem the property
      ¨ Reaffirm the debt
      ¨ Other. Explain (for example, avoid lien using 11 U.S.C. § 522(f)):



 Property is (check one):
    ¨ Claimed as exempt               ¨   Not claimed as exempt


PART B -- Personal property subject to unexpired leases. (All three columns of Part B must be completed for each unexpired lease.
Attach additional pages if necessary.)


 Property No.       1
 Lessor's Name:                                              Describe Leased Property:                      Lease will be Assumed pursuant to
 Sprint PCS                                                  Cell Phone Contract                            11 U.S.C. § 365(p)(2):
 P.O. Box 660092
 Dallas, TX 75266
                                                                                                            YES   þ          NO   ¨




 Property No.       2
 Lessor's Name:                                              Describe Leased Property:                      Lease will be Assumed pursuant to
 The Estates @ TPC                                           Apartment Lease                                11 U.S.C. § 365(p)(2):
 5707 TPC Parkway
 San Antonio, TX 78261                                                                                      YES   þ          NO   ¨
  B 8 (Official Form 8) (12/08)

                                       UNITED STATES BANKRUPTCY COURT
                                          WESTERN DISTRICT OF TEXAS
                                             SAN ANTONIO DIVISION
  IN RE:    Savannah Alexander                                                    CASE NO

                                                                                  CHAPTER       7

                      CHAPTER 7 INDIVIDUAL DEBTOR'S STATEMENT OF INTENTION
                                                     Continuation Sheet No. 1

I declare under penalty of perjury that the above indicates my intention as to any property of my estate securing a debt and/or
personal property subject to an unexpired lease.



Date 12/28/2010                                           Signature    /s/ Savannah Alexander
                                                                      Savannah Alexander




Date                                                      Signature
                                           UNITED STATES BANKRUPTCY COURT
                                              WESTERN DISTRICT OF TEXAS
                                                 SAN ANTONIO DIVISION
IN RE:     Savannah Alexander                                                            CASE NO

                                                                                        CHAPTER       7

                     DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR
1. Pursuant to 11 U.S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above-named debtor(s) and
   that compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for
   services rendered or to be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case
   is as follows:

     For legal services, I have agreed to accept:                                                  $1,200.00
     Prior to the filing of this statement I have received:                                        $1,200.00
     Balance Due:                                                                                         $0.00

2. The source of the compensation paid to me was:
             þ    Debtor                  ¨    Other (specify)

3. The source of compensation to be paid to me is:
             þ    Debtor                  ¨    Other (specify)

4.   þ   I have not agreed to share the above-disclosed compensation with any other person unless they are members and
         associates of my law firm.

     ¨   I have agreed to share the above-disclosed compensation with another person or persons who are not members or
         associates of my law firm. A copy of the agreement, together with a list of the names of the people sharing in the
         compensation, is attached.


5. In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:
   a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in
   bankruptcy;
   b. Preparation and filing of any petition, schedules, statements of affairs and plan which may be required;
   c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;

6. By agreement with the debtor(s), the above-disclosed fee does not include the following services:


                                                             CERTIFICATION
        I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for
     representation of the debtor(s) in this bankruptcy proceeding.


                      12/28/2010                              /s/ Jan Perry Lederer
                         Date                                 Jan Perry Lederer                          Bar No. 12108100
                                                              Law Offices of Jan Perry Lederer, P.C.
                                                              750 E. Mulberry Ave., Ste. 401
                                                              San Antonio, Texas 78212
                                                              Phone: (210) 733-9400 / Fax: (210) 733-5966




      /s/ Savannah Alexander
     Savannah Alexander
                                      UNITED STATES BANKRUPTCY COURT
                                         WESTERN DISTRICT OF TEXAS
                                            SAN ANTONIO DIVISION
  IN RE:   Savannah Alexander                                                      CASE NO

                                                                                  CHAPTER      7

                                     VERIFICATION OF CREDITOR MATRIX


      The above named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her
knowledge.




Date 12/28/2010                                          Signature    /s/ Savannah Alexander
                                                                     Savannah Alexander



Date                                                     Signature
 Debtor(s): Savannah Alexander     Case No:                              WESTERN DISTRICT OF TEXAS
                                    Chapter: 7                                SAN ANTONIO DIVISION


Aaron Sales & Lease Ow           National Credit Soluti         Sprint PCS
1015 Cobb Place Blvd Nw          Po Box 15779                   P.O. Box 660092
Kennesaw, GA 30144               Oklahoma City, OK 73155        Dallas, TX 75266



Azuma Lea                        National Recovery Agen         Student Loan Mkt Assn
2905 San Gabriel St #218         2491 Paxton Street             Attention: Claims Dept
Austin, TX 78705                 Harrisburg, PA 17111           PO Box 9400
                                                                Wilkes-Barre, PA 18773


Chela                            Personal Credit Plan           The Estates @ TPC
Attn: Bankruptcy                 1002 S. Ww White R             5707 TPC Parkway
PO Box 9500                      San Antonio, TX 78220          San Antonio, TX 78261
Wilkes-Barre, PA 18773


Collection                       Plains Commerce Bank           U.S. Attorney
CCS                              5109 S Broadband Ln            Vet. Admin/Fed Housing Admin.
PO Box 709                       Sioux Falls, SD 57108          601 N.W. Loop 410, Ste. 600
Needham, MA 02494                                               San Antonio, TX 78216-5512


Credit Management                Portfolio Rc                   U.S. Attorney General
4200 International Pwy           Attn: Bankruptcy               10th & Constitution, Room 5111
Carrolton, TX 75007              PO Box 41067                   Washington, DC 20530
                                 Norfolk, VA 23541


Dept Of Education/neln           Procollect,inc                 U.S. Attorney General
121 S 13th St                    12170 Abrams Rd Ste 100        Department of Education
Lincoln, NE 68508                Dallas, TX 75243               10th & Constitution, Room 5111
                                                                Washington, DC 20530


First Premier Bank               Professional Collectio         U.S. Trustee
3820 N Louise Ave                Po Box 45274                   P.O. Box 1539
Sioux Falls, SD 57107            Los Angeles, CA 90045          San Antonio, TX 78295



Frost National Bank              Rjm Acq Llc                    Western Shamrock Corporation
Box 1600                         575 Underhill Blvd Suite 224   Attention: Bankruptcy
San Antonio, TX 78296            Syosset, NY 11791              801 S Abe St
                                                                San Angelo, TX 76903


Internal Revenue Service         Social Security Admin
P.O. Box 7346                    155-10 Jamaica Ave
Philadelphia, PA 19101           Jamaica, NY 11432



IRS - Special Procedure          Southside Cu
P.O. Box 21126                   3401 Sw Military
Philadelphia, PA 19114           San Antonio, TX 78211
                                                 UNITED STATES BANKRUPTCY COURT
                                                    WESTERN DISTRICT OF TEXAS
                                                       SAN ANTONIO DIVISION
   IN RE: Savannah Alexander                                                              CASE NO

                                                                                          CHAPTER        7

                             SCHEDULE C-1 (SUPPLEMENTAL EXEMPTION ANALYSIS)

 Exemption Totals by Category:
 (Values and liens of surrendered property are NOT included in this section)                                 Scheme Selected: Federal

                                                            Gross                 Total                       Total Amount   Total Amount
 No.     Category                                   Property Value        Encumbrances    Total Equity              Exempt    Non-Exempt

 N/A     Real Property.                                      $0.00                $0.00         $0.00                $0.00          $0.00

 1.      Cash on hand.                                       $0.00                $0.00         $0.00                $0.00          $0.00

 2.      Checking, savings or other financial             ($29.67)                $0.00         $0.00                $0.00          $0.00
         accounts, CD's or shares in banks...

 3.      Security deposits with public utilities,            $0.00                $0.00         $0.00                $0.00          $0.00
         telephone companies, landlords, others.

 4.      Household goods and furnishings,                 $850.00                 $0.00       $850.00              $850.00          $0.00
         including audio, video...

 5.      Books, pictures and other art objects,              $0.00                $0.00         $0.00                $0.00          $0.00
         antiques, stamp, coin, records....

 6.      Wearing apparel.                                  $95.00                 $0.00        $95.00               $95.00          $0.00

 7.      Furs and jewelry.                                 $50.00                 $0.00        $50.00               $50.00          $0.00

 8.      Firearms and sports, photographic                   $0.00                $0.00         $0.00                $0.00          $0.00
         and other hobby equipment.

 9.      Interests in insurance policies.                $1,305.60                $0.00     $1,305.60            $1,305.60          $0.00

 10.     Annuities.                                          $0.00                $0.00         $0.00                $0.00          $0.00

 11.     Education IRAs.                                     $0.00                $0.00         $0.00                $0.00          $0.00

 12.     Interests in IRA, ERISA, Keogh...                   $0.00                $0.00         $0.00                $0.00          $0.00

 13.     Stock and interests in incorporated...              $0.00                $0.00         $0.00                $0.00          $0.00

 14.     Interests in partnerships....                       $0.00                $0.00         $0.00                $0.00          $0.00

 15.     Government and corporate bonds...                   $0.00                $0.00         $0.00                $0.00          $0.00

 16.     Accounts receivable.                                $0.00                $0.00         $0.00                $0.00          $0.00

 17.     Alimony, maintenance, support, and                  $0.00                $0.00         $0.00                $0.00          $0.00
         property settlement to which the.....

 18.     Other liquidated debts owed debtor...           $1,000.00                $0.00     $1,000.00            $1,000.00          $0.00

 19.     Equitable or future interests, life                 $0.00                $0.00         $0.00                $0.00          $0.00
         estates, and rights or powers.....

 20.     Contingent and noncontingent interests              $0.00                $0.00         $0.00                $0.00          $0.00
         in estate of decedent, death benefit....

 21.     Other contingent and unliquidated                   $0.00                $0.00         $0.00                $0.00          $0.00
         claims of every nature.....




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                                                 UNITED STATES BANKRUPTCY COURT
                                                    WESTERN DISTRICT OF TEXAS
                                                       SAN ANTONIO DIVISION
   IN RE: Savannah Alexander                                                                      CASE NO

                                                                                                 CHAPTER         7

                             SCHEDULE C-1 (SUPPLEMENTAL EXEMPTION ANALYSIS)
                                                                  Continuation Sheet # 1
 Exemption Totals by Category:
 (Values and liens of surrendered property are NOT included in this section)                                         Scheme Selected: Federal

                                                               Gross                Total                             Total Amount       Total Amount
 No.      Category                                     Property Value       Encumbrances          Total Equity              Exempt        Non-Exempt

 22.      Patents, copyrights, and other                        $0.00                 $0.00             $0.00                  $0.00            $0.00
          intellectual property.

 23.      Licenses, franchises, and other....                   $0.00                 $0.00             $0.00                  $0.00            $0.00

 24.      Customer Lists.                                       $0.00                 $0.00             $0.00                  $0.00            $0.00

 25.      Automobiles, trucks, trailers, vehicles...        $5,368.75                 $0.00         $5,368.75            $5,368.75              $0.00

 26.      Boats, motors and accessories.                        $0.00                 $0.00             $0.00                  $0.00            $0.00

 27.      Aircraft and accessories.                             $0.00                 $0.00             $0.00                  $0.00            $0.00

 28.      Office equipment, furnishings...                      $0.00                 $0.00             $0.00                  $0.00            $0.00

 29.      Machinery, fixtures used in business.                 $0.00                 $0.00             $0.00                  $0.00            $0.00

 30.      Inventory.                                            $0.00                 $0.00             $0.00                  $0.00            $0.00

 31.      Animals.                                           $200.00                  $0.00           $200.00              $200.00              $0.00

 32.      Crops - growing or harvested.                         $0.00                 $0.00             $0.00                  $0.00            $0.00

 33.      Farming equipment and implements.                     $0.00                 $0.00             $0.00                  $0.00            $0.00

 34.      Farm supplies, chemicals, and feed.                   $0.00                 $0.00             $0.00                  $0.00            $0.00

 35.      Other personal property of any kind.                  $0.00                 $0.00             $0.00                  $0.00            $0.00

                       TOTALS:                              $8,839.68                 $0.00         $8,869.35            $8,869.35              $0.00

 Surrendered Property:
 The following property is to be surrendered by the debtor. Although this property is NOT exempt, it is NOT considered "non-exempt" for purposes
 of this analysis. The below listed items are to be returned to the lienholder.

   Property Description                                                                       Market Value                     Lien            Equity

Real Property
(None)
Personal Property
(None)


                       TOTALS:                                                                        $0.00                    $0.00               $0.00


 Non-Exempt Property by Item:
 The following property, or a portion thereof, is non-exempt.

   Property Description                                                   Market Value               Lien             Equity       Non-Exempt Amount

Real Property
(None)




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                                           UNITED STATES BANKRUPTCY COURT
                                              WESTERN DISTRICT OF TEXAS
                                                 SAN ANTONIO DIVISION
  IN RE: Savannah Alexander                                                                   CASE NO

                                                                                              CHAPTER       7

                          SCHEDULE C-1 (SUPPLEMENTAL EXEMPTION ANALYSIS)
                                                              Continuation Sheet # 2




Personal Property
(None)


                 TOTALS:                                                        $0.00            $0.00          $0.00           $0.00




                                                               Summary
           A. Gross Property Value (not including surrendered property)                                            $8,839.68

           B. Gross Property Value of Surrendered Property                                                              $0.00

           C. Total Gross Property Value (A+B)                                                                     $8,839.68

           D. Gross Amount of Encumbrances (not including surrendered property)                                         $0.00

           E. Gross Amount of Encumbrances on Surrendered Property                                                      $0.00

           F. Total Gross Encumbrances (D+E)                                                                            $0.00

           G. Total Equity (not including surrendered property) / (A-D)                                            $8,869.35

           H. Total Equity in surrendered items (B-E)                                                                   $0.00

           I. Total Equity (C-F)                                                                                   $8,869.35

           J. Total Exemptions Claimed                  (Wild Card Used: $2,918.75, Available: $9,056.25)          $8,869.35

           K. Total Non-Exempt Property Remaining (G-J)                                                                 $0.00




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B 22A (Official Form 22A) (Chapter 7) (12/10)                       According to the information required to be entered on this statement
In re: Savannah Alexander                                           (check one box as directed in Part I, III, or VI of this statement):
                                                                         ¨ The presumption arises.
Case Number:                                                             þ The presumption does not arise.
                                                                         ¨ The presumption is temporarily inapplicable.

      CHAPTER 7 STATEMENT OF CURRENT MONTHLY INCOME AND MEANS-TEST CALCULATION

In addition to Schedules I and J, this statement must be completed by every individual chapter 7 debtor. If none of the exclusions in
Part I applies, joint debtors may complete one statement only. If any of the exclusions in Part I applies, joint debtors should complete
separate statements if they believe this is required by § 707(b)(2)(C).

                                     Part I. MILITARY AND NON-CONSUMER DEBTORS
       Disabled Veterans. If you are a disabled veteran described in the Declaration in this Part 1A, (1) check the box at the
       beginning of the Declaration, (2) check the box for "The presumption does not arise" at the top of this statement, and (3)
       complete the verification in Part VIII. Do not complete any of the remaining parts of this statement.

 1A    ¨    Declaration of Disabled Veteran. By checking this box, I declare under penalty of perjury that I am a disabled veteran (as
       defined in 38 U.S.C. § 3741(1)) whose indebtedness occurred primarily during a period in which I was on active duty (as
       defined in 10 U.S.C. § 101(d)(1)) or while I was performing a homeland defense activity (as defined in 32 U.S.C. § 901(1)).

       Non-consumer Debtors. If your debts are not primarily consumer debts, check the box below and complete the verification
       in Part VIII. Do not complete any of the remaining parts of this statement.
 1B

       ¨    Declaration of non-consumer debts. By checking this box, I declare that my debts are not primarily consumer debts.

       Reservists and National Guard Members; active duty or homeland defense activity. Members of a reserve component of
       the Armed Forces and members of the National Guard who were called to active duty (as defined in 10 U.S.C. § 101(d)(1))
       after September 11, 2001, for a period of at least 90 days, or who have performed homeland defense activity (as defined in
       32 U.S.C. § 901(1)) for a period of at least 90 days, are excluded from all forms of means testing during the time of active
       duty or homeland defense activity and for 540 days thereafter (the "exclusion period"). If you qualify for this temporary
       exclusion, (1) check the appropriate boxes and complete any required information in the Declaration of Reservists and
       National Guard Members below, (2) check the box for "The presumption is temporarily inapplicable" at the top of this
       statement, and (3) complete the verification in Part VIII. During your exclusion period you are not required to complete the
       balance of this form, but you must complete the form no later than 14 days after the date on which your exclusion
       period ends, unless the time for filing a motion raising the means test presumption expires in your case before your
       exclusion period ends.


       ¨   Declaration of Reservists and National Guard Members. By checking this box and making the appropriate entries
 1C
       below, I declare that I am eligible for a temporary exclusion from means testing because, as a member of a reserve
       component of the Armed Forces or the National Guard

              a.   ¨I was called to active duty after September 11, 2001, for a period of at least 90 days and
                        ¨ I remain on active duty /or/
                        ¨ I was released from active duty on                        , which is less than 540 days before this bankruptcy
              case was filed;
                          OR

              b.   ¨   I am performing homeland defense activity for a period of at least 90 days /or/
                   ¨   I performed homeland defense activity for a period of at least 90 days, terminating on                     , which
                       is less than 540 days before this bankruptcy case was filed.




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B 22A (Official Form 22A) (Chapter 7) (12/10)

                    Part II. CALCULATION OF MONTHLY INCOME FOR § 707(b)(7) EXCLUSION
       Marital/filing status. Check the box that applies and complete the balance of this part of this statement as directed.
       a. þ Unmarried. Complete only Column A ("Debtor's Income") for Lines 3-11.
       b. ¨ Married, not filing jointly, with declaration of separate households. By checking this box, debtor declares under
                penalty of perjury: "My spouse and I are legally separated under applicable non-bankruptcy law or my spouse and I
                are living apart other than for the purpose of evading the requirements of § 707(b)(2)(A) of the Bankruptcy Code."
 2
                Complete only Column A ("Debtor's Income") for Lines 3-11.
       c. ¨ Married, not filing jointly, without the declaration of separate households set out in Line 2.b above.
                Complete both Column A ("Debtor's Income") and Column B ("Spouse's Income") for Lines 3-11.
       d. ¨ Married, filing jointly. Complete both Column A ("Debtor's Income") and Column B ("Spouse's Income") for
                Lines 3-11.
       All figures must reflect average monthly income received from all sources, derived
                                                                                                           Column A          Column B
       during the six calendar months prior to filing the bankruptcy case, ending on the last day
       of the month before the filing. If the amount of monthly income varied during the six
                                                                                                             Debtor's        Spouse's
       months, you must divide the six-month total by six, and enter the result on the
                                                                                                              Income          Income
       appropriate line.

 3     Gross wages, salary, tips, bonuses, overtime, commissions.                                              $2,494.11
       Income from the operation of a business, profession, or farm. Subtract Line b from
       Line a and enter the difference in the appropriate column(s) of Line 4. If you operate
       more than one business, profession or farm, enter aggregate numbers and provide
 4
       details on an attachment. Do not enter a number less than zero. Do not include any part
       of the business expenses entered on Line b as a deduction in Part V.
         a.   Gross receipts                                              $0.00
         b.   Ordinary and necessary business expenses                    $0.00
         c.   Business income                                    Subtract Line b from Line a                      $0.00

       Rent and other real property income. Subtract Line b from Line a and enter the
       difference in the appropriate column(s) of Line 5. Do not enter a number less than zero.
       Do not include any part of the operating expenses entered on Line b as a deduction in
 5     Part V.
         a. Gross receipts                                               $0.00
         b.   Ordinary and necessary operating expenses                   $0.00
         c.   Rent and other real property income                Subtract Line b from Line a                      $0.00
 6     Interest, dividends, and royalties.                                                                        $0.00
 7     Pension and retirement income.                                                                             $0.00
       Any amounts paid by another person or entity, on a regular basis, for the household
       expenses of the debtor or the debtor's dependents, including child support paid for
 8     that purpose. Do not include alimony or separate maintenance payments or amounts
       paid by your spouse if Column B is completed. Each regular payment should be reported
       in only one column; if a payment is listed in Column A, do not report that payment in
                                                                                                                  $0.00
       Column B.
       Unemployment compensation. Enter the amount in the appropriate column(s) of Line 9.
       However, if you contend that unemployment compensation received by you or your
       spouse was a benefit under the Social Security Act, do not list the amount of such
 9     compensation in Column A or B, but instead state the amount in the space below:

         Unemployment compensation claimed to be a                     Debtor            Spouse
         benefit under the Social Security Act                         $0.00                                      $0.00




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       Income from all other sources. Specify source and amount. If necessary, list additional
       sources on a separate page. Do not include alimony or separate maintenance
       payments paid by your spouse if Column B is completed, but include all other
       payments of alimony or separate maintenance. Do not include any benefits received
 10    under the Social Security Act or payments received as a victim of a war crime, crime
       against humanity, or as a victim of international or domestic terrorism.

         a.

         b.
       Total and enter on Line 10                                                                                  $0.00
       Subtotal of Current Monthly Income for § 707(b)(7). Add Lines 3 thru 10 in Column A,
 11
       and, if Column B is completed, add Lines 3 through 10 in Column B. Enter the total(s).                   $2,494.11
       Total Current Monthly Income for § 707(b)(7). If Column B has been completed, add
 12    Line 11, Column A to Line 11, Column B, and enter the total. If Column B has not been
       completed, enter the amount from Line 11, Column A.                                                              $2,494.11

                                     Part III. APPLICATION OF § 707(b)(7) EXCLUSION
 13    Annualized Current Monthly Income for § 707(b)(7). Multiply the amount from Line 12 by the number 12
       and enter the result.                                                                                                  $29,929.32
       Applicable median family income. Enter the median family income for the applicable state and household
       size. (This information is available by family size at www.usdoj.gov/ust/ or from the clerk of the bankruptcy
 14
       court.)

       a. Enter debtor's state of residence:             Texas              b. Enter debtor's household size:       1         $37,676.00
       Application of Section 707(b)(7). Check the applicable box and proceed as directed.

       þ      The amount on Line 13 is less than or equal to the amount on Line 14. Check the box for "The presumption does not
 15           arise" at the top of page 1 of this statement, and complete Part VIII; do not complete Parts IV, V, VI, or VII.

       ¨      The amount on Line 13 is more than the amount on Line 14. Complete the remaining parts of this statement.
                          Complete Parts IV, V, VI, and VII of this statement only if required. (See Line 15.)

                     Part IV. CALCULATION OF CURRENT MONTHLY INCOME FOR § 707(b)(2)
 16    Enter the amount from Line 12.
       Marital adjustment. If you checked the box at Line 2.c, enter on Line 17 the total of any income listed in
       Line 11, Column B that was NOT paid on a regular basis for the household expenses of the debtor or the
       debtor's dependents. Specify in the lines below the basis for excluding the Column B income (such as
       payment of the spouse's tax liability or the spouse's support of persons other than the debtor or the
       debtor's dependents) and the amount of income devoted to each purpose. If necessary, list additional
 17    adjustments on a separate page. If you did not check box at Line 2.c, enter zero.

         a.

         b.

        c.
       Total and enter on line 17.
 18    Current monthly income for § 707(b)(2). Subtract Line 17 from Line 16 and enter the result.

                                Part V. CALCULATION OF DEDUCTIONS FROM INCOME
                        Subpart A: Deductions under Standards of the Internal Revenue Service (IRS)
       National Standards: food, clothing and other items. Enter in Line 19A the "Total" amount from IRS
       National Standards for Food, Clothing and Other Items for the applicable number of persons. (This
 19A   information is available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.) The applicable
       number of persons is the number that would currently be allowed as exemptions on your federal income
       tax return, plus the number of any additional dependents whom you support.




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B 22A (Official Form 22A) (Chapter 7) (12/10)
       National Standards: health care. Enter in Line a1 below the amount from IRS National Standards for
       Out-of-Pocket Health Care for persons under 65 years of age, and in Line a2 the IRS National Standards
       for Out-of-Pocket Health Care for persons 65 years of age or older. (This information is available at
       www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.) Enter in Line b1 the applicable number of
       persons who are under 65 years of age, and enter in Line b2 the applicable number of persons who are
       65 years of age or older. (The applicable number of persons in each age category is the number in that
       category that would currently be allowed as exemptions on your federal income tax return, plus the number
       of any additional dependents whom you support.) Multiply Line a1 by Line b1 to obtain a total amount for
 19B
       persons under 65, and enter the result in Line c1. Multiply Line a2 by Line b2 to obtain a total amount for
       persons 65 and older, and enter the result in Line c2. Add Lines c1 and c2 to obtain a total health care
       amount, and enter the result in Line 19B.

         Persons under 65 years of age                             Persons 65 years of age or older

         a1.    Allowance per person                               a2.   Allowance per person

         b1.    Number of persons                                  b2.   Number of persons
         c1.    Subtotal                                           c2.   Subtotal

       Local Standards: housing and utilities; non-mortgage expenses. Enter the amount of the IRS Housing
       and Utilities Standards; non-mortgage expenses for the applicable county and family size. (This
 20A   information is available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.) The applicable
       family size consists of the number that would currently be allowed as exemptions on your federal income
       tax return, plus the number of any additional dependents whom you support.
       Local Standards: housing and utilities; mortgage/rent expense. Enter, in Line a below, the amount of the
       IRS Housing and Utilities Standards; mortgage/rent expense for your county and family size (this
       information is available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court) (the applicable
       family size consists of the number that would currently be allowed as exemptions on your federal income
       tax return, plus the number of any additional dependents whom you support); enter on Line b the total of
 20B   the Average Monthly Payments for any debts secured by your home, as stated in Line 42; subtract Line b
       from Line a and enter the result in Line 20B. DO NOT ENTER AN AMOUNT LESS THAN ZERO.

         a.    IRS Housing and Utilities Standards; mortgage/rental expense
         b.    Average Monthly Payment for any debts secured by your home, if
               any, as stated in Line 42
         c.    Net mortgage/rental expense                                              Subtract Line b from Line a.
       Local Standards: housing and utilities; adjustment. If you contend that the process set out in Lines 20A
       and 20B does not accurately compute the allowance to which you are entitled under the IRS Housing and
 21    Utilities Standards, enter any additional amount to which you contend you are entitled, and state the basis
       for your contention in the space below:




       Local Standards: transportation; vehicle operation/public transportation expense.
       You are entitled to an expense allowance in this category regardless of whether you pay the expenses of
       operating a vehicle and regardless of whether you use public transportation.
 22A   Check the number of vehicles for which you pay the operating expenses or for which the operating expenses
       are included as a contribution to your household expenses in Line 8.   ¨ 0 ¨ 1 ¨ 2 or more.
       If you checked 0, enter on Line 22A the "Public Transportation" amount from IRS Local Standards:
       Transportation. If you checked 1 or 2 or more, enter on Line 22A the "Operating Costs" amount from IRS
                                                                                                                       $239.00
       Local Standards: Transportation for the applicable number of vehicles in the applicable Metropolitan
       Statistical Area or Census Region. (These amounts are available at www.usdoj.gov/ust/ or from the clerk
       of the bankruptcy court.)




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B 22A (Official Form 22A) (Chapter 7) (12/10)
       Local Standards: transportation; additional public transportation expense.
       If you pay the operating expenses for a vehicle and also use public transportation, and you contend that
       you are entitled to an additional deduction for your public transportation expenses, enter on Line 22B the
 22B
       "Public Transportation" amount from IRS Local Standards: Transportation. (This amount is available at
       www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.)
       Local Standards: transportation ownership/lease expense; Vehicle 1.
       Check the number of vehicles for which you claim an ownership/lease expense. (You may not claim an
       ownership/lease expense for more than two vehicles.)          ¨ 1 ¨ 2 or more.
       Enter, in Line a below, the "Ownership Costs" for "One Car" from the IRS Local Standards: Transportation
       (available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court); enter in Line b the total of the
       Average Monthly Payments for any debts secured by Vehicle 1, as stated in Line 42; subtract Line b from
 23
       Line a and enter the result in Line 23. DO NOT ENTER AN AMOUNT LESS THAN ZERO.

         a.   IRS Transportation Standards, Ownership Costs
         b.   Average Monthly Payment for any debts secured by Vehicle 1, as
              stated in Line 42
         c.   Net ownership/lease expense for Vehicle 1                                 Subtract Line b from Line a.

       Local Standards: transportation ownership/lease expense; Vehicle 2.
       Complete this Line only if you checked the "2 or more" Box in Line 23.
       Enter, in Line a below, the "Ownership Costs" for "One Car" from the IRS Local Standards: Transportation
       (available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court); enter in Line b the total of the
       Average Monthly Payments for any debts secured by Vehicle 2, as stated in Line 42; subtract Line b from
 24    Line a and enter the result in Line 24. DO NOT ENTER AN AMOUNT LESS THAN ZERO.
         a.   IRS Transportation Standards, Ownership Costs
         b.   Average Monthly Payment for any debts secured by Vehicle 2, as
              stated in Line 42
         c.   Net ownership/lease expense for Vehicle 2                                 Subtract Line b from Line a.
       Other Necessary Expenses: taxes. Enter the total average monthly expense that you actually incur for all
       federal, state, and local taxes, other than real estate and sales taxes, such as income taxes, self-
 25    employment taxes, social-security taxes, and Medicare taxes. DO NOT INCLUDE REAL ESTATE OR
       SALES TAXES.
       Other Necessary Expenses: involuntary deductions for employment. Enter the total average monthly
       payroll deductions that are required for your employment, such as retirement contributions, union dues,
 26    and uniform costs. DO NOT INCLUDE DISCRETIONARY AMOUNTS, SUCH AS VOLUNTARY 401(K)
       CONTRIBUTIONS.
       Other Necessary Expenses: life insurance. Enter total average monthly premiums that you actually pay
 27    for term life insurance for yourself. DO NOT INCLUDE PREMIUMS FOR INSURANCE ON YOUR
       DEPENDENTS, FOR WHOLE LIFE OR FOR ANY OTHER FORM OF INSURANCE.
       Other Necessary Expenses: court-ordered payments. Enter the total monthly amount that you are
 28    required to pay pursuant to the order of a court or administrative agency, such as spousal or child support
       payments. DO NOT INCLUDE PAYMENTS ON PAST DUE OBLIGATIONS INCLUDED IN LINE 44.
       Other Necessary Expenses: education for employment or for a physically or mentally challenged child.
       Enter the total average monthly amount that you actually expend for education that is a condition of
 29    employment and for education that is required for a physically or mentally challenged dependent child for
       whom no public education providing similar services is available.
       Other Necessary Expenses: childcare. Enter the total average monthly amount that you actually expend on
 30    childcare--such as baby-sitting, day care, nursery and preschool. DO NOT INCLUDE OTHER
       EDUCATIONAL PAYMENTS.

       Other Necessary Expenses: health care. Enter the total average monthly amount that you actually expend
 31    on health care that is required for the health and welfare of yourself or your dependents, that is not
       reimbursed by insurance or paid by a health savings account, and that is in excess of the amount entered
       in Line 19B. DO NOT INCLUDE PAYMENTS FOR HEALTH INSURANCE OR HEALTH SAVINGS
       ACCOUNTS LISTED IN LINE 34.




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       Other Necessary Expenses: telecommunication services. Enter the total average monthly amount that
       you actually pay for telecommunication services other than your basic home telephone and cell phone
 32    service--such as pagers, call waiting, caller id, special long distance, or internet service--to the extent
       necessary for your health and welfare or that of your dependents. DO NOT INCLUDE ANY AMOUNT
       PREVIOUSLY DEDUCTED.
 33    Total Expenses Allowed under IRS Standards. Enter the total of Lines 19 through 32.

                                      Subpart B: Additional Living Expense Deductions
                            Note: Do not include any expenses that you have listed in Lines 19-32
       Health Insurance, Disability Insurance, and Health Savings Account Expenses. List the monthly
       expenses in the categories set out in lines a-c below that are reasonably necessary for yourself, your
       spouse, or your dependents.
         a.   Health Insurance
 34      b.   Disability Insurance
         c.   Health Savings Account
       Total and enter on Line 34
       IF YOU DO NOT ACTUALLY EXPEND THIS TOTAL AMOUNT, state your actual total average monthly
       expenditures in the space below:


       Continued contributions to the care of household or family members. Enter the total average actual
       monthly expenses that you will continue to pay for the reasonable and necessary care and support of an
 35    elderly, chronically ill, or disabled member of your household or member of your immediate family who is
       unable to pay for such expenses.
       Protection against family violence. Enter the total average reasonably necessary monthly expenses that
       you actually incurred to maintain the safety of your family under the Family Violence Prevention and
 36    Services Act or other applicable federal law. The nature of these expenses is required to be kept
       confidential by the court.

       Home energy costs. Enter the total average monthly amount, in excess of the allowance specified by IRS
       Local Standards for Housing and Utilities, that you actually expend for home energy costs. YOU MUST
 37    PROVIDE YOUR CASE TRUSTEE WITH DOCUMENTATION OF YOUR ACTUAL EXPENSES, AND YOU
       MUST DEMONSTRATE THAT THE ADDITIONAL AMOUNT CLAIMED IS REASONABLE AND NECESSARY.

       Education expenses for dependent children less than 18. Enter the total average monthly expenses that
       you actually incur, not to exceed $147.92* per child, for attendance at a private or public elementary or
 38    secondary school by your dependent children less than 18 years of age. YOU MUST PROVIDE YOUR
       CASE TRUSTEE WITH DOCUMENTATION OF YOUR ACTUAL EXPENSES, AND YOU MUST EXPLAIN
       WHY THE AMOUNT CLAIMED IS REASONABLE AND NECESSARY AND NOT ALREADY ACCOUNTED
       FOR IN THE IRS STANDARDS.

       Additional food and clothing expense. Enter the total average monthly amount by which your food and
       clothing expenses exceed the combined allowances for food and clothing (apparel and services) in the
       IRS National Standards, not to exceed 5% of those combined allowances. (This information is available
 39    at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.) YOU MUST DEMONSTRATE THAT THE
       ADDITIONAL AMOUNT CLAIMED IS REASONABLE AND NECESSARY.

       Continued charitable contributions. Enter the amount that you will continue to contribute in the form of
 40    cash or financial instruments to a charitable organization as defined in 26 U.S.C. § 170(c)(1)-(2).

 41    Total Additional Expense Deductions under § 707(b). Enter the total of Lines 34 through 40.




* Amount(s) are subject to adjustment on 4/01/13, and every three years thereafter with respect to cases commenced on or after the
date of adjustment.
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B 22A (Official Form 22A) (Chapter 7) (12/10)
                                              Subpart C: Deductions for Debt Payment
       Future payments on secured claims. For each of your debts that is secured by an interest in property that
       you own, list the name of creditor, identify the property securing the debt, state the Average Monthly
       Payment, and check whether the payment includes taxes or insurance. The Average Monthly Payment is
       the total of all amounts scheduled as contractually due to each Secured Creditor in the 60 months
       following the filing of the bankruptcy case, divided by 60. If necessary, list additional entries on a separate
       page. Enter the total of the Average Monthly Payments on Line 42.
 42                  Name of Creditor              Property Securing the Debt           Average          Does payment
                                                                                        Monthly          include taxes
                                                                                        Payment          or insurance?
         a.                                                                                             ¨ yes ¨ no
         b.                                                                                             ¨ yes ¨ no
         c.                                                                                             ¨ yes ¨ no
                                                                                    Total: Add
                                                                                    Lines a, b and c.

       Other payments on secured claims. If any of debts listed in Line 42 are secured by your primary
       residence, a motor vehicle, or other property necessary for your support or the support of your dependents,
       you may include in your deduction 1/60th of any amount (the "cure amount") that you must pay the creditor
       in addition to the payments listed in Line 42, in order to maintain possession of the property. The cure
       amount would include any sums in default that must be paid in order to avoid repossession or
       foreclosure. List and total any such amounts in the following chart. If necessary, list additional entries on
       a separate page.
 43
                       Name of Creditor                 Property Securing the Debt         1/60th of the Cure Amount
         a.
         b.
         c.
                                                                                          Total: Add Lines a, b and c

       Payments on prepetition priority claims. Enter the total amount, divided by 60, of all priority claims, such
 44    as priority tax, child support and alimony claims, for which you were liable at the time of your bankruptcy
       filing. DO NOT INCLUDE CURRENT OBLIGATIONS, SUCH AS THOSE SET OUT IN LINE 28.
       Chapter 13 administrative expenses. If you are eligible to file a case under chapter 13, complete the
       following chart, multiply the amount in line a by the amount in line b, and enter the resulting administrative
       expense.

         a.   Projected average monthly chapter 13 plan payment.

 45      b.   Current multiplier for your district as determined under schedules
              issued by the Executive Office for United States Trustees. (This
              information is available at www.usdoj.gov/ust/ or from the clerk of
              the bankruptcy court.)
                                                                                                                        %

         c.   Average monthly administrative expense of chapter 13 case                   Total: Multiply Lines a and b
 46    Total Deductions for Debt Payment. Enter the total of Lines 42 through 45.

                                             Subpart D: Total Deductions from Income
 47    Total of all deductions allowed under § 707(b)(2). Enter the total of Lines 33, 41, and 46.

                                Part VI. DETERMINATION OF § 707(b)(2) PRESUMPTION

 48    Enter the amount from Line 18 (Current monthly income for § 707(b)(2))

 49    Enter the amount from Line 47 (Total of all deductions allowed under § 707(b)(2))

 50    Monthly disposable income under § 707(b)(2). Subtract Line 49 from Line 48 and enter the result.

       60-month disposable income under § 707(b)(2). Multiply the amount in Line 50 by the number 60 and
 51
       enter the result.



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B 22A (Official Form 22A) (Chapter 7) (12/10)
       Initial presumption determination. Check the applicable box and proceed as directed.

       ¨      The amount on Line 51 is less than $7,025*. Check the box for "The presumption does not arise" at the top of page 1 of
              this statement, and complete the verification in Part VIII. Do not complete the remainder of Part VI.
 52    ¨      The amount set forth on Line 51 is more than $11,725*. Check the box for "The presumption arises" at the top of page 1
              of this statement, and complete the verification in Part VIII. You may also complete Part VII. Do not complete the
              remainder of Part VI.
       ¨      The amount on Line 51 is at least $7,025*, but not more than $11,725*. Complete the remainder of Part VI (Lines 53
              through 55).
 53    Enter the amount of your total non-priority unsecured debt
 54    Threshold debt payment amount. Multiply the amount in Line 53 by the number 0.25 and enter the result.

       Secondary presumption determination. Check the applicable box and proceed as directed.

       ¨      The amount on Line 51 is less than the amount on Line 54. Check the box for "The presumption does not arise" at the
 55
              top of page 1 of this statement, and complete the verification in Part VIII.

       ¨      The amount on Line 51 is equal to or greater than the amount on Line 54. Check the box for "The presumption arises"
              at the top of page 1 of this statement, and complete the verification in Part VIII. You may also complete Part VII.


                                           Part VII: ADDITIONAL EXPENSE CLAIMS
       Other Expenses. List and describe any monthly expenses, not otherwise stated in this form, that are required for the health
       and welfare of you and your family and that you contend should be an additional deduction from your current monthly income
       under § 707(b)(2)(A)(ii)(I). If necessary, list additional sources on a separate page. All figures should reflect your average
       monthly expense for each item. Total the expenses.


 56                                           Expense Description                                                    Monthly Amount

         a.

         b.
         c.

                                                                         Total: Add Lines a, b, and c

                                                      Part VIII: VERIFICATION
       I declare under penalty of perjury that the information provided in this statement is true and correct.
       (If this is a joint case, both debtors must sign.)


 57             Date: 12/28/2010                            Signature:     /s/ Savannah Alexander
                                                                           Savannah Alexander

                Date:                                       Signature:
                                                                                            (Joint Debtor, if any)




* Amount(s) are subject to adjustment on 4/01/13, and every three years thereafter with respect to cases commenced on or after the
date of adjustment.
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                                      Current Monthly Income Calculation Details
In re: Savannah Alexander                                               Case Number:
                                                                        Chapter:     7

3.    Gross wages, salary, tips, bonuses, overtime commissions.

 Debtor or Spouse's Income                 Description (if available)
                                                6             5             4             3             2          Last       Avg.
                                              Months        Months        Months        Months        Months      Month        Per
                                               Ago           Ago           Ago           Ago           Ago                    Month

Debtor                                     CSI
                                                   $0.00    $3,716.65     $3,108.00     $2,960.00     $2,960.00   $2,220.00   $2,494.11




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                                                     Underlying Allowances
In re: Savannah Alexander                                                 Case Number:
                                                                          Chapter:     7


                                                      Median Income Information
 State of Residence                                                   Texas
 Household Size                                                       1
 Median Income per Census Bureau Data                                 $37,676.00



               National Standards: Food, Clothing, Household Supplies, Personal Care, and Miscellaneous
 Region                                                               US
 Family Size                                                          1
 Gross Monthly Income                                                 $2,494.11
 Income Level                                                         Not Applicable
 Food                                                                 $293.00
 Housekeeping Supplies                                                $28.00
 Apparel and Services                                                 $86.00
 Personal Care Products and Services                                  $32.00
 Miscellaneous                                                        $87.00
 Additional Allowance for Family Size Greater Than 4                  $0.00
 Total                                                                $526.00

                       National Standards: Health Care (only applies to cases filed on or after 1/1/08)
 Household members under 65 years of age
 Allowance per member                                                 $60.00
 Number of members                                                    0
 Subtotal                                                             $0.00
 Household members 65 years of age or older
 Allowance per member                                                 $144.00
 Number of members                                                    0
 Subtotal                                                             $0.00
 Total                                                                $0.00

                                               Local Standards: Housing and Utilities
 State Name                                                           Texas
 County or City Name                                                  Bexar County
 Family Size                                                          Family of 1
 Non-Mortgage Expenses                                                $357.00
 Mortgage/Rent Expense Allowance                                      $714.00
 Minus Average Monthly Payment for Debts Secured by Home              $0.00
 Equals Net Mortgage/Rental Expense                                   $714.00
 Housing and Utilities Adjustment                                     $0.00




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                                                     Underlying Allowances
In re: Savannah Alexander                                                 Case Number:
                                                                          Chapter:     7


                           Local Standards: Transportation; Vehicle Operation/Public Transportation
 Transportation Region                                                South Region
 Number of Vehicles Operated                                          1
 Allowance                                                            $239.00
                           Local Standards: Transportation; Additional Public Transportation Expense
 Transportation Region                                                South Region
 Allowance (if entitled)                                              $182.00
 Amount Claimed                                                       $0.00
                                  Local Standards: Transportation; Ownership/Lease Expense
 Transportation Region                                                South Region
 Number of Vehicles with Ownership/Lease Expense                      0
                                                    First Car                                              Second Car
 Allowance
 Minus Average Monthly
 Payment for Debts
 Secured by Vehicle
 Equals Net Ownership /
 Lease Expense




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